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                                       EXHIBIT B


                                 TIMEKEEPER SUMMARY




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                                      SUMMARY OF BILLING BY TIMEKEEPER
                              For the Period from September 1, 2022 through September 30, 2022

       Name of                      Year of Bar    Position with the      Practice      Hourly    Total       Total
  Professional Person               Admission      applicant and           Group        billing   billed   compensation
                                                   number of years in                    rate     hours
                                                   that position
Mark Minuti                            1988        Partner (1997)       Bankruptcy        $815     68.50      $55,827.50
John D. Demmy                          1986        Partner (2018)       Bankruptcy        $770     3.10        $2,387.00
Martin J. Doyle                        1991        Partner (2000)       Real Estate       $725     7.80        $5,655.00
Jeffrey C. Hampton                     1990        Partner (1999)       Bankruptcy        $720    163.90     $118,008.00
Adam H. Isenberg                       1988        Partner (1999)       Bankruptcy        $720    104.50      $75,240.00
                                                                        Business /
David G. Shapiro                       1998        Partner (2014)       Finance           $710     3.50        $2,485.00
                                                                        Business /
Dennis J. Brennan                      1998        Partner (2009)       Finance           $690    1.70         $1,173.00
Michelle G. Novick                     1991        Partner (2008)       Bankruptcy        $640    4.70         $3,008.00
Clarence Y. Lee                        2004        Partner (2017)       Litigation        $615    0.80          $492.00
Matthew M. Haar                        2000        Partner (2009)       Litigation        $570    0.40          $238.00
Monique B. DiSabatino                  2009        Partner (2019)       Bankruptcy        $500    18.30        $9,150.00
Carolyn Pellegrini                     2009        Partner (2021)       Litigation        $490    7.70         $3,773.00
Melissa A. Martinez                    2016        Associate (2016)     Bankruptcy        $385    10.90        $4,196.50
A. Mayer Kohn                          2017        Associate (2020)     Bankruptcy        $370    14.60        $5,402.00
Frederick N. Poindexter                2021        Associate (2021)     Real Estate       $285     9.40        $2,679.00
Sabrina Espinal                        2022        Associate (2022)     Bankruptcy        $285    18.60        $5,301.00
Patricia A. Desmond                    N/A         Paralegal            Real Estate       $325    4.50         $1,462.50
Jennifer R. Fitzgerald                 N/A         Paralegal            Real Estate       $295    0.50          $147.50
Amit Shah                              N/A         Litigation Support   Litigation        $250    1.70          $552.50
Robyn E. Warren                        N/A         Paraprofessional     Bankruptcy        $255    42.00       $10,710.00
                                                  TOTAL                                           487.10      $307,887.50
                              Minus 50% Discount for Non-Working Travel                                       ($5,653.25)
                                     Minus Agreed Upon Discount                                              ($29,658.10)
                                           GRAND TOTAL                                            487.10     $272,576.15

                                                                                      Blended Hourly Rate: $559.59




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    Date     Timekeeper                                    Description                                    Hours         Value
                             Conference call with J. DiNome and A. Wilen re: MOU status and other
  9/1/2022      AHI          issues                                                                          0.60   $        432.00
  9/1/2022      AHI          Analysis of issues re: closing - MOU                                            0.10   $         72.00
  9/1/2022      AHI          Review of updated closing documents                                             0.30   $        216.00
  9/1/2022      AHI          Review of revisions to closing instruction letter - MOU                         2.50   $      1,800.00
  9/1/2022      AHI          Email to S. Uhland re: MOU exhibits                                             0.50   $        360.00
  9/1/2022      AHI          Analysis of strategic issues re: closing logistics                              0.90   $        648.00
  9/1/2022      AHI          Logistics call with MBNF re: MOU closing                                        0.90   $        648.00
  9/1/2022      AHI          Conference call with J. DiNome re: closing issues                               0.50   $        360.00
  9/1/2022      AHI          Further analysis of closing mechanics/logistics                                 0.20   $        144.00
  9/2/2022      AHI          Conference call with J. DiNome and A. Wilen re: open matters                    0.30   $        216.00
  9/2/2022      AHI          Analysis of strategic issues re: closing logistics                              0.40   $        288.00
  9/2/2022      AHI          Email to S. Mapes re: RRG issues                                                0.10   $         72.00
  9/2/2022      AHI          Review of draft form 8832s and email to D. Shapiro re: same                     0.40   $        288.00
  9/2/2022      AHI          Update chart re: MOU closing issues                                             0.20   $        144.00

  9/2/2022      AHI          Conference call with S. Uhland and Judge Carey re: closing logistics - MOU      0.40 $             288.00
  9/2/2022      AHI          Analysis of strategic issues re: closing logistics                              0.80 $             576.00
                             Review of and revise open issues list and email to M. Minuti and J.
  9/2/2022      AHI          Hampton re: same                                                                0.80   $        576.00
  9/2/2022      AHI          Email from M. Doyle re: real estate documents                                   0.30   $        216.00
  9/4/2022      AHI          Email from M. Minuti re: additional items for to-do list                        0.10   $         72.00
  9/4/2022      AHI          Email to M. Martinez re: MOU exhibits                                           0.10   $         72.00
  9/4/2022      AHI          Email from S. Uhland re: draft execution copies of documents                    0.30   $        216.00
  9/4/2022      AHI          Email to J. Hampton re: pension board                                           0.10   $         72.00
  9/4/2022      AHI          Analysis of strategic issues re: MOU - implementation                           0.20   $        144.00
  9/4/2022      AHI          Email to S. Uhland re: execution copies of documents                            0.40   $        288.00
  9/5/2022      AHI          Email exchange with M. Martinez re: MOU execution packages                      0.30   $        216.00
  9/6/2022      AHI          Meeting with NKF re: sale issues                                                0.70   $        504.00
  9/6/2022      AHI          Analysis of results of call with NKF re: sale issues                            0.30   $        216.00
  9/6/2022      AHI          Weekly conference call with A. Wilen                                            0.50   $        360.00
  9/6/2022      AHI          Analysis of strategic issues re: closing logistics - MOU                        0.40   $        288.00
  9/6/2022      AHI          Email to D. Shapiro re: form 8832s                                              0.10   $         72.00
  9/6/2022      AHI          Email exchange with TJ Li re: Exhibit 2(f)                                      0.20   $        144.00
  9/6/2022      AHI          Email from M. Martinez re: draft MOU exhibits - revisions                       0.20   $        144.00
  9/6/2022      AHI          Analysis of logistical issues re: execution documents                           0.60   $        432.00
  9/6/2022      AHI          Draft email to S. Uhland re: execution version of MOU exhibits                  0.80   $        576.00
  9/6/2022      AHI          Revise draft email to S. Uhland re: MOU exhibits                                0.10   $         72.00
  9/6/2022      AHI          Email exchange with J. DiNome re: RRG call                                      0.20   $        144.00
  9/6/2022      AHI          Email to S. Mapes re: RRG call                                                  0.10   $         72.00
  9/6/2022      AHI          Email from M. Martinez re: MOU exhibits                                         0.10   $         72.00
  9/6/2022      AHI          Emails to mediation parties re: MOU - exhibits for execution                    1.70   $      1,224.00
  9/6/2022      AHI          Email exchange with L. Curcio re: MOU exhibits                                  0.10   $         72.00
  9/7/2022      AHI          Emails to J. DiNome re: additional execution documents - MOU                    0.30   $        216.00
  9/7/2022      AHI          Email to S. Mitnick re: execution documents - MOU                               0.20   $        144.00
  9/7/2022      AHI          Email from M. Minuti re: MOU notices                                            0.50   $        360.00
  9/7/2022      AHI          Conference call with Omni re: MOU logistics/issues                              0.60   $        432.00
  9/7/2022      AHI          Email to Omni re: W-9 form                                                      0.10   $         72.00
  9/7/2022      AHI          Email to A. Wilen re: execution copies of documents                             0.70   $        504.00
  9/7/2022      AHI          Email to J. DiNome re: documents to execute                                     0.10   $         72.00
  9/7/2022      AHI          Letter to A. Wilen re: documents to execute                                     0.70   $        504.00
  9/7/2022      AHI          Review of PAHS operating agreement - revisions                                  0.50   $        360.00
  9/7/2022      AHI          Email to C. Santangelo re: documents for MOU closing                            0.20   $        144.00
  9/7/2022      AHI          Email exchange with D. Brennan re: PAHS operating agreement                     0.10   $         72.00
  9/7/2022      AHI          File review re: pension bond                                                    0.40   $        288.00
  9/7/2022      AHI          Email to A. Wilen and J. DiNome re: execution copies of MOU documents           0.20   $        144.00
  9/7/2022      AHI          Attention to MOU closing issues - documents to be signed by debtors             0.10   $         72.00
  9/7/2022      AHI          Email to S. Uhland re: form 8832's                                              0.20   $        144.00

  9/8/2022      AHI          Email from S. Attestatova re: revised MOU documents and analysis of same        1.70 $        1,224.00
                             Email to S. Brown and L. Cucio re: revised signature page - PAHH note
  9/8/2022      AHI          assignment                                                                      0.20 $             144.00
  9/8/2022      AHI          Email to A. Wilen re: revised signature page                                    0.10 $              72.00

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    Date      Timekeeper                                      Description                                       Hours         Value
  9/8/2022       AHI          Email exchange with D. Brennan re: signature page issue                              0.10   $            72.00
  9/8/2022       AHI          Email from M. Kohn re: Wayne Moving payment                                          0.10   $            72.00
  9/8/2022       AHI          Letter to S. Uhland re: PAHS amended operating agreement                             0.10   $            72.00
  9/8/2022       AHI          Review of draft cover letter - form 8832's                                           0.10   $            72.00
  9/8/2022       AHI          Email from S. Attestatova re: MOU issues                                             0.20   $           144.00
  9/8/2022       AHI          Analysis of strategic issues - MOU closing                                           0.20   $           144.00
  9/8/2022       AHI          Email to Tenet et al re: operating agreements                                        0.20   $           144.00
  9/8/2022       AHI          Analysis of issues re: S. Attestatova email on closing issues                        0.30   $           216.00
  9/8/2022       AHI          Email to S. Attestatova re: MOU closing issues - operating agreements                0.10   $            72.00
  9/8/2022       AHI          Email to mediation parties re: revised MBNF operating agreements                     0.10   $            72.00
                              Conference call with A. Wilen and J. DiNome re: MOU closing status and
  9/9/2022       AHI          issue                                                                                0.50   $        360.00
  9/9/2022       AHI          Attend to MOU closing issue                                                          2.60   $      1,872.00
  9/9/2022       AHI          Analysis of issues - revised MBNF operating agreement                                0.20   $        144.00
  9/9/2022       AHI          Review of and revise draft Omni direction letter                                     2.80   $      2,016.00

   9/9/2022      AHI          Email exchange with S. Brown re: revised Broad Street operating agreement            0.20   $        144.00
   9/9/2022      AHI          Email to S. Brown re: UCC-3 termination statement                                    0.10   $         72.00
   9/9/2022      AHI          Email to M. Doyle re: UCC-3 termination statement                                    0.10   $         72.00
  9/10/2022      AHI          Analysis of strategic issues and prepare for 9/13/2022 MOU closing                   2.20   $      1,584.00
  9/10/2022      AHI          Email from S. Attestatova re: Omni instruction letter                                0.20   $        144.00
  9/10/2022      AHI          Revise draft MOU certification                                                       0.30   $        216.00
  9/11/2022      AHI          Email from S. Attestatova re: PAHH operating agreement                               0.10   $         72.00
  9/11/2022      AHI          Email to mediation parties re: PAHH operating agreement                              0.10   $         72.00
  9/11/2022      AHI          Review of MBNF comments to draft notice of implantation date                         0.10   $         72.00
  9/11/2022      AHI          Email from TJ Li re: email search                                                    0.10   $         72.00
  9/11/2022      AHI          Review of Omni instruction letter per MBNF comments                                  0.40   $        288.00
  9/11/2022      AHI          Email to mediation parties re: Omni instruction letter                               0.20   $        144.00
  9/11/2022      AHI          Email exchange with M. Minuti re: MOU certification                                  0.10   $         72.00
  9/11/2022      AHI          Email from M. Minuti re: draft stipulation of dismissal - appeal                     0.10   $         72.00
  9/11/2022      AHI          Email to TJ Li re: financing statement - HSRE                                        0.10   $         72.00
  9/11/2022      AHI          Email to counsel re: MOU certification                                               0.10   $         72.00
  9/11/2022      AHI          Email to A. Wilen re: MOU certification                                              0.10   $         72.00
  9/11/2022      AHI          Email to S. Attestatova re: MOU certification                                        0.10   $         72.00
                              All day meeting with P. Deutch re: review of closing documents and
  9/12/2022      AHI          preparation for MOU closing                                                          9.80   $      7,056.00
  9/12/2022      AHI          Email to S. Uhland re: form 8832's                                                   0.20   $        144.00
  9/12/2022      AHI          Travel from Philadelphia to New York for meeting with Omni                           2.80   $      2,016.00
  9/13/2022      AHI          All-day closing re: MOU                                                              9.60   $      6,912.00
  9/13/2022      AHI          Return from New York to Philadelphia after MOU closing                               4.30   $      3,096.00
  9/14/2022      AHI          Email from J. DiNome re: insurance issues                                            0.10   $         72.00
  9/14/2022      AHI          Conference call with Broad Street counsel re: insurance                              0.30   $        216.00
  9/14/2022      AHI          Analysis of results of call with Steward & Kissell                                   0.10   $         72.00
  9/14/2022      AHI          Email from M. Minuti to J. Kurtzman re: Iron Stone issues                            0.10   $         72.00
  9/14/2022      AHI          Review of miscellaneous emails                                                       0.20   $        144.00
  9/14/2022      AHI          Analysis of strategic issues MOU closing                                             0.20   $        144.00
  9/14/2022      AHI          Email from A. Akinrinade re: Wayne Moving payment                                    0.10   $         72.00
  9/14/2022      AHI          Review of MOU re: insurance issue                                                    0.10   $         72.00
  9/14/2022      AHI          Email exchange with F. Poindexter re: real estate documents                          0.10   $         72.00

  9/14/2022      AHI          Analysis of strategic issues re: real estate documents - filing and recordation      0.20 $             144.00
  9/14/2022      AHI          Email to M. Doyle re: real estate documents                                          0.10 $              72.00

  9/14/2022      AHI          Conference call with S. Callison (Lockton) re: insurance issues - real estate        0.50   $           360.00
  9/14/2022      AHI          Analysis of issues re: recordation of mortgages                                      0.60   $           432.00
  9/14/2022      AHI          Review of draft notice - release date under MOU                                      0.10   $            72.00
  9/15/2022      AHI          Emails from J. Hampton to S. Callison re: property insurance                         0.20   $           144.00
  9/15/2022      AHI          Prepare for call with Judge Carey and mediation parties re: release notice           0.20   $           144.00
  9/15/2022      AHI          Conference call with Judge Carey and mediation parties re: release notice            0.20   $           144.00
  9/15/2022      AHI          Analysis of strategic issues re: release notice                                      0.20   $           144.00
  9/15/2022      AHI          Review of miscellaneous emails re: MOU closing                                       1.10   $           792.00

  9/15/2022      AHI          Email exchange with F. Poindexter re: real estate documents - MOU closing            0.10 $              72.00

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    Date      Timekeeper                                    Description                                 Hours         Value
  9/15/2022      AHI          Email from J. Fitzgerald re: UCC filings                                     0.10   $         72.00
  9/15/2022      AHI          Email from K. Hayden re: Omni instruction letter - compile and send          0.90   $        648.00
  9/15/2022      AHI          Email from Huron counsel re: settlement agreement                            0.10   $         72.00
  9/15/2022      AHI          Review of notice of release date                                             0.10   $         72.00
  9/16/2022      AHI          Prepare for call with Hilco                                                  0.50   $        360.00
  9/16/2022      AHI          Conference call with Hilco re: potential broker interview                    0.80   $        576.00
  9/16/2022      AHI          Analysis of results of discussion with Hilco                                 0.40   $        288.00
  9/16/2022      AHI          Conference call with S. Mitnick re: status and MOU implementation            0.50   $        360.00
  9/16/2022      AHI          Analysis of results of discussion with S. Mitnick                            0.10   $         72.00
  9/16/2022      AHI          Analysis of strategic issues re: MOU implementation                          0.10   $         72.00
  9/16/2022      AHI          Review of documents re: MOU closing                                          0.40   $        288.00
  9/16/2022      AHI          Review of MOU exhibits                                                       1.60   $      1,152.00
  9/16/2022      AHI          Email exchange with J. Hampton re: MOU documents                             0.20   $        144.00
  9/16/2022      AHI          Email exchange with M. Minuti re: draft stipulation                          0.20   $        144.00
  9/19/2022      AHI          Review of MOU binder - electronic version                                    0.60   $        432.00
  9/19/2022      AHI          Email from J. Hampton re: D&O insurance issues                               0.10   $         72.00
  9/19/2022      AHI          Email exchange with M. Minuti re: closing binder                             0.10   $         72.00
  9/19/2022      AHI          Email to M. Doyle re: time-stamped documents - MOU closing                   0.10   $         72.00
  9/19/2022      AHI          Email to M. Kohn re: MOU binder issue                                        0.10   $         72.00
  9/19/2022      AHI          Arrange logistics re: circulation of MOU binders                             0.60   $        432.00
  9/19/2022      AHI          Email to A. Wilen and J. DiNome re: MOU binder                               0.10   $         72.00
  9/19/2022      AHI          Email to mediation parties re: MOU binder                                    0.30   $        216.00
  9/19/2022      AHI          Email to J. Carey re: MOU binder                                             0.10   $         72.00
  9/19/2022      AHI          Email exchange with S. Attestatova re: UCC financing statements              0.10   $         72.00
  9/19/2022      AHI          Email to J. Carey re: RRG closing documents - MOU                            0.30   $        216.00
  9/19/2022      AHI          Analysis of strategic issues re: post-MOU issues                             0.20   $        144.00
  9/19/2022      AHI          Update list of open items                                                    0.10   $         72.00
  9/19/2022      AHI          Review of and revise draft closing binder re: MOU                            2.20   $      1,584.00
  9/19/2022      AHI          Review of draft agenda - 9/22/2022 hearing                                   0.10   $         72.00
  9/20/2022      AHI          Conference call with Jones Lang LaSalle re: potential retention              0.50   $        360.00
  9/20/2022      AHI          Analysis of results of call with Jones Lang LaSalle re: retention            0.20   $        144.00
  9/20/2022      AHI          Analysis of strategic issues re: selection of broker                         0.30   $        216.00
  9/20/2022      AHI          Email from J. Hampton re: broker interview                                   0.10   $         72.00
  9/20/2022      AHI          Analysis of strategic issues re: D&O insurance                               0.30   $        216.00
  9/20/2022      AHI          Telephone call with J. DiNome re: insurance issues                           0.10   $         72.00
  9/20/2022      AHI          Email from S. Attestatova re: real estate tax notice                         0.10   $         72.00
  9/20/2022      AHI          Email from J. DiNome re: property issues                                     0.10   $         72.00
  9/20/2022      AHI          Email from S. Attestatova re: NKF report                                     0.20   $        144.00
  9/20/2022      AHI          Analysis of strategic issues re: post-MOU issues                             0.30   $        216.00
  9/20/2022      AHI          Weekly call with A. Wilen and J. DiNome                                      0.70   $        504.00
  9/20/2022      AHI          Email from S. Attestatova re: Huron - White & Williams fees                  0.10   $         72.00
  9/20/2022      AHI          Conference call with J. DiNome re: Fit issues                                0.10   $         72.00
  9/20/2022      AHI          Review of email re: PA state procedure                                       0.10   $         72.00
  9/20/2022      AHI          Email to A. Shah re: MOU binder distribution                                 0.10   $         72.00
  9/21/2022      AHI          Email from J. DiNome re: real estate budget                                  0.20   $        144.00
  9/21/2022      AHI          Email exchange with S. Mapes re: RRG board meeting                           0.10   $         72.00
  9/21/2022      AHI          Emails to J. DiNome and A. Wilen re: RRG board meeting                       0.20   $        144.00
  9/21/2022      AHI          Email exchange with S. Mapes re: RRG board meeting                           0.10   $         72.00
  9/21/2022      AHI          Review of claim analysis - PA assessment claim                               0.60   $        432.00
  9/21/2022      AHI          Review of recorded real estate documents                                     0.10   $         72.00
  9/21/2022      AHI          Analysis of strategic issues re: MOU open issues                             0.20   $        144.00
  9/21/2022      AHI          Email from M. Minuti re: Tenet issue                                         0.20   $        144.00
  9/21/2022      AHI          Review of motion re: United States Trustee fee issues                        0.70   $        504.00
  9/22/2022      AHI          Analysis of strategic issues re: retention of broker                         0.60   $        432.00
  9/22/2022      AHI          Conference call with Eastdil re: potential retention                         0.50   $        360.00
  9/22/2022      AHI          Analysis of results of call with Eastdil                                     0.30   $        216.00
  9/22/2022      AHI          Analysis of results of call with A. Mezzaroba re: broker selection           0.10   $         72.00
  9/22/2022      AHI          Email from M. Minuti re: Phoenix Group                                       0.10   $         72.00
  9/22/2022      AHI          Email from A. Perno re: steam update                                         0.10   $         72.00
  9/22/2022      AHI          Email from A. Wilen re: STC straddle payments                                0.10   $         72.00
  9/22/2022      AHI          Review of materials re: property condition                                   0.40   $        288.00
  9/22/2022      AHI          Email from C. Marino re: books and records review                            0.10   $         72.00

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    Date      Timekeeper                                     Description                                  Hours          Value
  9/22/2022      AHI          Email from J. Hampton re: bond - pension                                        0.10   $         72.00
  9/22/2022      AHI          Review of MOU re: covenant enforceability                                       0.30   $        216.00
  9/23/2022      AHI          Update open items list - post MOU closing                                       0.60   $        432.00
  9/23/2022      AHI          Review of open item list                                                        0.50   $        360.00
  9/23/2022      AHI          Email from M. Minuti re: creditor inquiry                                       0.20   $        144.00
  9/23/2022      AHI          Analysis of strategic issues re: open items                                     0.70   $        504.00
  9/23/2022      AHI          Email from M. Minuti re: Travelers' issues                                      0.10   $         72.00
  9/28/2022      AHI          Analysis of strategic issues re: real estate sale process                       0.30   $        216.00
  9/28/2022      AHI          Conference call with J. DiNome and A. Wilen re: real estate sale process        0.80   $        576.00
  9/28/2022      AHI          Conference call with RRG board and attend board meeting                         0.60   $        432.00
  9/28/2022      AHI          Email from J. DiNome re: agenda for meeting at HUH                              0.10   $         72.00
  9/28/2022      AHI          Email from J. Carey re: RRG dissolution                                         0.10   $         72.00
  9/28/2022      AHI          Email from A. Wilen re: bank account                                            0.10   $         72.00
  9/28/2022      AHI          Review of miscellaneous emails and correspondence                               0.20   $        144.00
  9/28/2022      AHI          Prepare for and participate in call with A. Akinrinade re: PA claim             1.10   $        792.00
  9/28/2022      AHI          Analysis of results of call with Eisner re: PA claim                            0.30   $        216.00
  9/28/2022      AHI          Telephone call from A. Wilen re: PA claim issues                                0.20   $        144.00
  9/28/2022      AHI          Email from D. Brennan re: PAHS equity buyer formation documents                 0.30   $        216.00
  9/28/2022      AHI          Email from C. Santangelo re: copies of MOU closing binder                       0.10   $         72.00
  9/28/2022      AHI          Email from J. Hampton re: pension bond                                          0.10   $         72.00
  9/28/2022      AHI          Telephone call to S. Mitnick re: PAHS equity buyer                              0.10   $         72.00
  9/28/2022      AHI          Telephone call to P. Deutch re: escrow issues                                   0.10   $         72.00
  9/29/2022      AHI          Telephone call from A. Wilen re: real estate broker interview                   0.10   $         72.00
  9/29/2022      AHI          Meeting at HUH with NKF re: transition issues - real estate                     2.50   $      1,800.00
  9/29/2022      AHI          Meeting with A. Wilen and J. DiNome re: NKF and real estate issue               1.20   $        864.00
  9/29/2022      AHI          Review of MOU binders                                                           0.20   $        144.00
  9/29/2022      AHI          Review of reciprocal easement agreement re: real estate                         1.00   $        720.00
  9/29/2022      AHI          Analysis of strategic issues re: real estate sale                               0.40   $        288.00
  9/29/2022      AHI          Email to M. Doyle re: reciprocal easement agreement                             0.30   $        216.00
  9/29/2022      AHI          Review of draft email re: D&O insurance                                         0.10   $         72.00

  9/29/2022     AHI           Email exchange with M. Minuti re: draft email to HSRE re: mediation costs       0.30   $        216.00
  9/29/2022     AHI           Travel to/from HUH for meeting with NKF                                         0.70   $        504.00
  9/30/2022     AHI           Analysis of strategic issues re: sale process                                   0.40   $        288.00
  9/30/2022     AHI           Conference with A. Wilen re: sale process - meetings with brokers               0.50   $        360.00
  9/30/2022     AHI           Analysis of strategic issues re: broker interview                               0.20   $        144.00
  9/30/2022     AHI           Email from J. DiNome re: property insurance                                     0.10   $         72.00
  9/30/2022     AHI           Email from J. Hampton re: D&O insurance                                         0.10   $         72.00
  9/30/2022     AHI           Email from M. Doyle re: REA issues                                              0.10   $         72.00
  9/30/2022     AHI           Email from B. Pederson re: books and records - Iron Mountain issues             0.30   $        216.00
  9/30/2022     AHI           Telephone call from B. Pederson re: Iron Mountain issues                        0.10   $         72.00
  9/30/2022     AHI           Email to J. Donaldson re: Iron Stone                                            0.20   $        144.00
  9/30/2022     AHI           Email from C. Marino re: Iron Mountain invoices                                 0.30   $        216.00
  9/30/2022     AHI           Email from J. Donaldson re: Iron Mountain                                       0.20   $        144.00
  9/30/2022     AHI           Email from C. Manslo re: Iron Store invoices                                    0.30   $        216.00
  9/30/2022     AHI           Email from S. Espinal re: draft memo on case admin issue.                       0.30   $        216.00
              AHI Total                                                                                     104.50   $     75,240.00




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  9/2/2022      AMK         Conference with J. Demmy re: De Lage Landen                                 0.30   $           111.00
  9/6/2022      AMK         Email exchange re: De Lage Landen discovery issues                          0.40   $           148.00
  9/7/2022      AMK         Email exchange with P. Winterhalter re: De Lage Landen                      0.20   $            74.00
  9/8/2022      AMK         Draft Medline extension to fact discovery                                   0.20   $            74.00
                            Conference with M. Novick re: Medtronic and McKesson adversary
   9/8/2022     AMK         proceedings                                                                 0.50   $           185.00
   9/8/2022     AMK         Review docket activity re: Medtronic and McKesson                           0.40   $           148.00
   9/8/2022     AMK         Email exchange re: Wayne Moving and Storage settlement                      0.20   $            74.00
   9/8/2022     AMK         Telephone call with P. Winterhalter re: De Lage Landen                      0.30   $           111.00
   9/8/2022     AMK         Email to J. Demmy re: De Lage Landen                                        0.20   $            74.00
   9/9/2022     AMK         Email exchange with M. Minuti re: De Lage Landen                            0.20   $            74.00
  9/12/2022     AMK         Revise draft stipulation extending discovery deadlines re: Medline          0.20   $            74.00
                            Email exchange with Medline counsel re stipulation extending pretrial
  9/12/2022     AMK         deadlines                                                                   0.20   $            74.00
  9/12/2022     AMK         Calendar new Medline discovery deadlines                                    0.20   $            74.00
  9/12/2022     AMK         Email exchange with M. Minuti and J. Demmy re: De Lage Landen               0.40   $           148.00
  9/12/2022     AMK         Email exchange with S. Prill re: De Lage Landen                             0.30   $           111.00
  9/13/2022     AMK         Review and analyze Medtronic discovery responses                            0.60   $           222.00
  9/13/2022     AMK         Email exchange with M. Novick re: Medtronic                                 0.20   $            74.00
  9/14/2022     AMK         Email exchange re: Wayne Moving and Storage                                 0.10   $            37.00
  9/19/2022     AMK         Email exchange re: McKesson and Medtronic                                   0.30   $           111.00
  9/19/2022     AMK         Email exchange re: De Lage Landen                                           0.20   $            74.00
  9/20/2022     AMK         Email exchange re: McKesson adversary                                       0.20   $            74.00
                            Review and analyze discovery produced by HRE Capital; email exchange
  9/22/2022     AMK         with J. Demmy re: same                                                      1.50 $             555.00
  9/22/2022     AMK         Email exchanges re: McKesson and Medtronic                                  0.50 $             185.00
  9/22/2022     AMK         Conference with M. Novick re: McKesson and Medtronic                        0.80 $             296.00
                            Review of materials from M. Novick re: McKesson and Medtronic re:
  9/22/2022     AMK         avoidance actions                                                           0.80   $           296.00
  9/22/2022     AMK         Email exchange with B. Harvey re: McKesson discovery                        0.40   $           148.00
  9/23/2022     AMK         Email exchange re: McKesson                                                 0.20   $            74.00
  9/23/2022     AMK         Telephone call with B. Harvey re: McKesson                                  0.50   $           185.00
  9/23/2022     AMK         Draft email to B. Harvey re: McKesson discovery timeline                    0.20   $            74.00
  9/30/2022     AMK         Email exchange with M. Minuti re: De Lage Landen                            0.10   $            37.00
  9/30/2022     AMK         Email exchange with C. Mears re: Medline                                    0.20   $            74.00
  9/30/2022     AMK         Email exchange with J. Demmy re: HRE Capital                                0.20   $            74.00
  9/30/2022     AMK         Email exchange re: Medtronic discovery                                      0.20   $            74.00
                            Review and analyze supplemental discovery responses from Medline;
  9/30/2022     AMK         review discovery documents cited therein                                    2.90 $        1,073.00
                            Email exchange with J. Demmy and M. DiSabatino re: summary of
  9/30/2022     AMK         discovery responses from Medline                                             0.30 $         111.00
              AMK Total                                                                                 14.60 $       5,402.00




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    Date      Timekeeper                                   Description                           Hours           Value
  9/19/2022      AS         Transfer materials to external users as requested by case team              1.40 $           455.00
  9/20/2022      AS         Send materials to additional users as requested                             0.30 $            97.50
               AS Total                                                                                 1.70 $           552.50




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    Date      Timekeeper                                    Description                                   Hours         Value
   9/6/2022      CAP          Revise case assessment for Richards pending matter                             0.60   $        294.00
   9/7/2022      CAP          Revise Richards case assessment                                                1.30   $        637.00
  9/12/2022      CAP          Richards - Revise case assessment                                              2.40   $      1,176.00
  9/13/2022      CAP          Revise Richards case assessment report                                         3.30   $      1,617.00
                              Richards - Draft e-mail to K. Wilkinson with Richards case assessment for
  9/14/2022     CAP           Travelers                                                                      0.10 $           49.00
              CAP Total                                                                                      7.70 $        3,773.00




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    Date      Timekeeper                                  Description                            Hours           Value
  9/19/2022     CYL         Review and respond to insurance issues; analyze same                        0.30 $           184.50
  9/20/2022     CYL         Call re change in control                                                   0.50 $           307.50
              CYL Total                                                                                 0.80 $           492.00




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    Date      Timekeeper                                     Description                                    Hours         Value
  9/2/2022       DGS          Review and respond to email from J. Hampton re: Form 8832 filing                 0.10   $            71.00
  9/6/2022       DGS          Revise draft Forms 8832 and attachments thereto                                  0.30   $           213.00
  9/6/2022       DGS          Emails with J. Hampton re: Form 8832 filings                                     0.20   $           142.00
  9/7/2022       DGS          Review correspondence re: Forms 8832                                             0.10   $            71.00
                              Review and comment on revised Form 8832 and related filing
  9/8/2022       DGS          considerations                                                                   0.30 $             213.00
                              Conference with J. Hampton re: analysis of tax filing issues for MOU
   9/8/2022      DGS          implementation                                                                   0.30   $           213.00
   9/8/2022      DGS          Analyze Treasury Regulations relating to tax election filings                    0.30   $           213.00
   9/8/2022      DGS          Draft letter to IRS for 8832s                                                    0.20   $           142.00
   9/9/2022      DGS          Review and respond to email from S. Uhland re: Forms 8832                        0.10   $            71.00
   9/9/2022      DGS          Revise PAHS Form 8832                                                            0.10   $            71.00
  9/10/2022      DGS          Review emails from S. Attestatova re: Forms 8832                                 0.10   $            71.00
  9/11/2022      DGS          Review correspondence from S. Attestatova re: closing documents                  0.10   $            71.00
  9/12/2022      DGS          Call with J. Hampton and A. Isenberg re: Forms 8832                              0.10   $            71.00
  9/12/2022      DGS          Revise Forms 8832                                                                0.20   $           142.00
  9/12/2022      DGS          Email J. Hampton and A. Isenberg re: revised Form 8832                           0.10   $            71.00
                              Email A. Isenberg, J. Hampton, and M. Minuti re: instructions for filing of
  9/13/2022      DGS          Forms 8832                                                                       0.30 $             213.00
                              Conference with J. Hampton, A. Isenberg, A. Wilen and escrow agent re:
  9/13/2022     DGS           tax filings                                                                      0.30   $        213.00
  9/14/2022     DGS           Discussion with J. Hampton re: POA                                               0.10   $         71.00
  9/14/2022     DGS           Discussion with M. Doyle re: POA                                                 0.10   $         71.00
  9/14/2022     DGS           Review emails from J. Hampton re: POA                                            0.10   $         71.00
              DGS Total                                                                                        3.50   $      2,485.00




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    Date     Timekeeper                                   Description                                Hours        Value
                             Calls with internal SEAL team and with wider working group to discuss
  9/1/2022      DJB          closing logistics                                                           1.30 $           897.00
                             Review and correct LLC operating agreement for PAHS; communications
  9/7/2022      DJB          with A. Isenberg                                                            0.40 $           276.00

             DJB Total                                                                                   1.70 $      1,173.00




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    Date      Timekeeper                                  Description                                  Hours         Value

  9/1/2022       FNP          Telephone conference with M. Doyle regarding MOU recorded documents.        0.30 $              85.50
  9/1/2022       FNP          Correspondence with P. Desmond regarding recorded documents.                0.50 $             142.50

   9/1/2022     FNP           Telephone conference with A. Isenberg regarding MOU closing documents.      1.00   $        285.00
   9/1/2022     FNP           Telephone conference with S. Uhland regarding MOU closing.                  0.70   $        199.50
   9/1/2022     FNP           Telephone conference with M. Doyle regarding MOU closing.                   0.10   $         28.50
  9/13/2022     FNP           Conference with M. Doyle regarding recording closing documents.             0.30   $         85.50
  9/14/2022     FNP           Conference with J. Hampton regarding closing documents.                     0.80   $        228.00
  9/14/2022     FNP           Compile electronic closing binder.                                          2.70   $        769.50
  9/14/2022     FNP           Telephone conference with P. Desmond regarding document recording.          0.20   $         57.00
  9/14/2022     FNP           Correspondence with P. Desmond regarding document recording.                0.20   $         57.00
  9/14/2022     FNP           Correspondence with J. Hampton regarding closing documents.                 0.20   $         57.00
  9/14/2022     FNP           Correspondence with J. Fitzgerald regarding UCC filings.                    0.10   $         28.50
  9/14/2022     FNP           Conference with M. Doyle regarding closing documents.                       0.20   $         57.00
  9/15/2022     FNP           Correspondence with A. Isenberg regarding UCC statements.                   0.20   $         57.00
  9/15/2022     FNP           Correspondence with J. Fitzgerald regarding UCC statements.                 0.40   $        114.00
  9/19/2022     FNP           Correspondence with P. Desmond regarding recorded documents.                0.10   $         28.50
  9/19/2022     FNP           Correspondence with A. Isenberg regarding recorded documents.               0.10   $         28.50
  9/20/2022     FNP           Correspondence with P. Desmond regarding recorded documents.                0.10   $         28.50
  9/20/2022     FNP           Correspondence with A. Isenberg regarding recorded documents.               0.10   $         28.50
  9/20/2022     FNP           Review recorded documents.                                                  0.20   $         57.00
  9/21/2022     FNP           Correspondence with A. Isenberg regarding document recording.               0.20   $         57.00
  9/27/2022     FNP           Review recorded documents.                                                  0.30   $         85.50
  9/27/2022     FNP           Correspondence with P. Desmond regarding recorded documents.                0.30   $         85.50
  9/27/2022     FNP           Correspondence with J. Hampton regarding recorded documents.                0.10   $         28.50
              FNP Total                                                                                   9.40   $      2,679.00




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    Date     Timekeeper                                     Description                                     Hours         Value

  9/1/2022      JCH          Conference with J. Dinome re: MOU implementation and bank account note            0.40 $             288.00
                             Review of MOU exhibits re: segregation of execution sets and
  9/1/2022      JCH          implementation structure                                                          0.50 $             360.00
  9/1/2022      JCH          Review and analyze building steam dispute issue materials                         0.20 $             144.00
                             Detailed review and analysis of draft of escrow agent direction letter and
  9/1/2022      JCH          closing review of MOU re: same and note comments                                  1.40 $        1,008.00
                             Conference with A. Isenberg to prepare MOU implementation to Huron
  9/1/2022      JCH          settlement and review of same                                                     1.80 $        1,296.00
                             Correspondence and conference with J. Dinome and A. Wilen re: MOU
  9/1/2022      JCH          implementation update and logistics                                               0.70 $             504.00
                             Review and analyze correspondence from Wells Fargo Bank to A. Wilen re:
  9/1/2022      JCH          bank account status and requested closure                                         0.20 $             144.00
                             Telephone from A. Wilen re: case strategy re: bank request for account
  9/1/2022      JCH          closure                                                                           0.30 $             216.00

  9/1/2022      JCH          Conference with D. Brennan and M. Doyle re: MOU implementation issues             0.90 $             648.00
                             Review and analyze and revise further updated draft of MOU
  9/1/2022      JCH          implementation escrow agent direction letter                                      0.60 $             432.00
  9/1/2022      JCH          Conference with MBNF counsel re: MOU implementation                               0.90 $             648.00
                             Review of correspondence with S. Uhland, MBNF counsel, re: comments to
  9/1/2022      JCH          Huron settlement and review of same                                               0.20 $             144.00
  9/2/2022      JCH          Draft correspondence to NKF re: real estate marketing process                     0.40 $             288.00

  9/2/2022      JCH          Correspondence with T. Tertel of brokerage firm re: Broad Street real estate      0.10 $           72.00
  9/2/2022      JCH          Attend to MOU implementation issues and documents                                 1.90 $        1,368.00
  9/2/2022      JCH          Correspondence with MBNF counsel and mediator re: MOU                             0.10 $           72.00
                             Telephone from A. Wilen and J. Dinome re: follow up from Wells Fargo
  9/2/2022      JCH          regarding bank account issues                                                     0.30 $             216.00
                             Conference with S. Uhland, MBNF counsel, and Judge Carey re: MOU
  9/2/2022      JCH          implementation steps                                                              0.40 $             288.00
  9/2/2022      JCH          Conference with M. Martinez re: supporting documents for MOU closing              0.70 $             504.00
                             Correspondence with S. Mapes, Debtors' Vermont counsel, re: RRG
  9/2/2022      JCH          transition issues                                                                 0.10 $              72.00
                             Review and analyze correspondence from M. Doyle re: details for execution
  9/2/2022      JCH          of MOU documents to be recorded                                                   0.20 $             144.00
                             Conference with A. Isenberg re: preparation of action item memorandum for
  9/2/2022      JCH          MOU implementation                                                                0.70 $             504.00
  9/2/2022      JCH          Prepare MOU closing documents                                                     0.20 $             144.00
                             Review and analyze draft tax notice filings for MOU and analyze open issue
  9/2/2022      JCH          for same                                                                          0.20   $        144.00
  9/2/2022      JCH          Review of correspondence from Wells Fargo re: bank account issues                 0.20   $        144.00
  9/2/2022      JCH          Update case files to reflect MOU finalization                                     1.40   $      1,008.00
  9/2/2022      JCH          Weekly call with client team                                                      0.30   $        216.00
  9/2/2022      JCH          Review and analyze Huron comments to avoidance action settlement draft            0.20   $        144.00
                             Review of correspondence with counsel to MBNF re: Huron settlement
  9/2/2022      JCH          agreement issue                                                                   0.10 $              72.00
                             Review and analyze correspondence from MBNF re: RRG funding update
                             and regarding pension fund payoff issue and correspondence with client re:
  9/3/2022      JCH          same                                                                              0.30 $             216.00
                             Review and analyze correspondence from S. Uhland, MBNF counsel, re:
  9/3/2022      JCH          information for tax filing under MOU                                              0.20 $             144.00
                             Correspondence with MBNF counsel and client team re: status of MBNF
  9/3/2022      JCH          review of execution drafts                                                        0.20   $           144.00
  9/3/2022      JCH          Review and analyze file materials re: pension bond detail                         0.40   $           288.00
  9/3/2022      JCH          Review and analyze open issues re: execution documents for MOU                    0.30   $           216.00
  9/3/2022      JCH          Develop closing logistics for MOU                                                 0.40   $           288.00
                             Review and analyze debtors' cash management motion re: bank account
  9/3/2022      JCH          requirements                                                                      0.20 $             144.00
                             Review and analyze MOU implementation steps requiring multiple
  9/3/2022      JCH          document releases                                                                 0.20 $             144.00
                             Review and analyze updated draft of direction letter to escrow agent and
  9/3/2022      JCH          note comments to same                                                             0.30 $             216.00
                             Correspondence with J. Dinome and A. Wilen re: develop of real estate
  9/3/2022      JCH          parcels near hospital property                                                    0.20 $             144.00


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    Date     Timekeeper                                     Description                                      Hours         Value
                             Review and analyze correspondence from S. Uhland, MBNF counsel, re:
  9/4/2022      JCH          comments to execution documents and note comments to same                          0.40 $             288.00
                             Review and analyze correspondence from M. Minuti re: MOU
  9/4/2022      JCH          implementation issues                                                              0.20 $             144.00
                             Conference with A. Isenberg re: MBNF comments to execution draft
  9/4/2022      JCH          documents                                                                          0.20 $             144.00
                             Review of correspondence with MBNF counsel re: response to MBNF
  9/4/2022      JCH          documents comments                                                                 0.10 $              72.00
                             Correspondence with J. Tertel of NKF re: call to discuss strategy of
  9/4/2022      JCH          marketing options                                                                  0.10 $              72.00
                             Review and analyze correspondence and accompanying documents received
  9/4/2022      JCH          from MBNF counsel per requirements under MOU                                       0.20 $             144.00
  9/4/2022      JCH          Attend to MOU closing preparation issues                                           0.70 $             504.00
                             Review and analyze pleadings from State Court action re: bond supporting
  9/4/2022      JCH          pension obligation                                                                 0.20 $             144.00
  9/4/2022      JCH          Correspondence with client team re: pension bond inquiry                           0.20 $             144.00
  9/6/2022      JCH          Conference with J. Tertel of NKF re: property marketing process                    0.70 $             504.00
                             Review and analyze issues raised by potential broker candidate and develop
  9/6/2022      JCH          response to same                                                                   0.40 $             288.00
  9/6/2022      JCH          Review and analyze revised MOU exhibits                                            0.30 $             216.00
  9/6/2022      JCH          Conference with A. Isenberg re: MOU implementation issues                          0.40 $             288.00
                             Correspondence with D. Shapiro re: information needed to finalize tax
  9/6/2022      JCH          document for MOU and review of same                                                0.30 $             216.00
  9/6/2022      JCH          Prepare for call with J. Tertel of NKF re: property marketing process              0.20 $             144.00
                             Conference with client team re: open issues and MOU implementation
  9/6/2022      JCH          issues and logistics                                                               0.50 $             360.00
                             Review and analyze utility materials received from MBNF re: setoff
  9/6/2022      JCH          analysis                                                                           0.20 $             144.00
                             Obtain documents requested by potential broker and prepare same for
  9/6/2022      JCH          distribution                                                                       0.30 $             216.00

  9/6/2022      JCH          Review of correspondence with MBNF counsel re: MOU exhibit questions               0.10 $              72.00
  9/6/2022      JCH          Conference with A. Isenberg re: MOU implementation issues                          0.40 $             288.00
                             Review and analyze updated draft of all exhibits and signature package re:
  9/6/2022      JCH          same                                                                               0.30 $             216.00
                             Correspondence with counsel to Tenet re: MOU implementation details
  9/6/2022      JCH          update                                                                             0.10 $              72.00
                             Conference with M. Martinez re: revisions to MOU implementation
  9/6/2022      JCH          documents and closing document sets                                                0.70 $             504.00
                             Correspondence and conference with counsel to Tenet re: MOU
  9/6/2022      JCH          implementation                                                                     0.30 $             216.00
                             Review and analyze and revise draft correspondence to mediation parties re:
  9/6/2022      JCH          execution documents                                                                0.40 $             288.00
                             Draft correspondence to Omni re: update and detail for escrow agent role in
  9/6/2022      JCH          MOU closing                                                                        0.30 $             216.00
                             Review and analyze further updated MOU implementation document
  9/6/2022      JCH          package for MOU closing                                                            0.40 $             288.00
                             Review and analyze correspondence from K. Hayden, Tenet counsel, re:
  9/6/2022      JCH          funding of payments under MOU                                                      0.10 $              72.00
                             Review of and note comments to additional set of MOU implementation
  9/6/2022      JCH          document drafts                                                                    0.30   $           216.00
  9/6/2022      JCH          Correspondence with D. Shapiro re: tax documents to be filed for MOU               0.20   $           144.00
  9/6/2022      JCH          Correspondence with counsel to CONA re: MOU implementation issue                   0.10   $            72.00
  9/6/2022      JCH          Review of files re: pension and materials requested                                0.20   $           144.00
                             Review of file materials re: pension bond details and review of provisions of
  9/7/2022      JCH          same                                                                               0.90 $             648.00
  9/7/2022      JCH          Correspondence and conference with J. Dinome re: pension bond funding              0.20 $             144.00
  9/7/2022      JCH          Prepare for MOU closing                                                            0.60 $             432.00
                             Review and analyze correspondence received from J. Dinome re: pension
  9/7/2022      JCH          bond files                                                                         0.10 $              72.00
                             Review and analyze correspondence received from MBNF re: revision
  9/7/2022      JCH          pension payoff amount and review of MOU regarding same                             0.20 $             144.00
                             Correspondence with MBNF counsel re: details for pension fund payoff
  9/7/2022      JCH          letter                                                                             0.20 $             144.00
  9/7/2022      JCH          Conference with Omni team re: MOU escrow                                           0.60 $             432.00



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    Date     Timekeeper                                    Description                                    Hours       Value

  9/7/2022      JCH          Prepare for call with Omni team re: escrow details for MOU implementation       0.30 $           216.00
                             Review and analyze and note comments to draft restated operating
  9/7/2022      JCH          agreement for PAHS                                                              0.60 $           432.00
  9/7/2022      JCH          Develop implementation instructions for Tenet re: MOU                           0.30 $           216.00
                             Draft correspondence to Tenet counsel re: MOU implementation funding
  9/7/2022      JCH          and regarding information required                                              0.40 $           288.00
  9/7/2022      JCH          Review of pension bond materials received from client                           0.30 $           216.00
                             Draft correspondence to S. Uhland, MOU counsel, re: pension bond and
  9/7/2022      JCH          disposition of same under MOU                                                   0.20 $           144.00
  9/7/2022      JCH          Correspondence with TJ Li, MBNF counsel, re: escrow agent for MOU               0.20 $           144.00
                             Draft correspondence to S. Uhland, MBNF counsel, re: MBNF direction
  9/7/2022      JCH          letter details and timing                                                       0.20 $           144.00
                             Telephone to P. Deutch of Omni re: MOU implementation issues and
  9/7/2022      JCH          regarding delivery of documents for escrow                                      0.30 $           216.00
  9/7/2022      JCH          Further revise amended PAHS operating agreement draft                           0.60 $           432.00
  9/7/2022      JCH          Correspondence with client team re: MOU implementation issues                   0.20 $           144.00
                             Correspondence with D. Brennan re: revisions to PAHS amended operating
  9/7/2022      JCH          agreement draft                                                                 0.20 $           144.00
                             Correspondence with S. Mapes, debtors' Vermont counsel, re: RRG
  9/7/2022      JCH          transition planning                                                             0.20 $           144.00
                             Correspondence with M. Minuti and J. Dinome re: steam dispute case
  9/7/2022      JCH          strategy                                                                        0.20 $           144.00

  9/7/2022      JCH          Correspondence with counsel to HSRE re: MOU implementation documents            0.10 $            72.00
  9/7/2022      JCH          Review and analyze MBNF comments to signature packages for MOU                  0.40 $           288.00
  9/7/2022      JCH          Review of and revise closing documents for MOU implementation                   0.50 $           360.00
                             Review and analyze issues regarding MBNF comments to MOU exhibits
  9/8/2022      JCH          and resolve same                                                                1.30 $           936.00
                             Review of correspondence and documents re: MOU implementation date
  9/8/2022      JCH          and note comments to same                                                       1.70 $      1,224.00
                             Review and analyze Internal Revenue Code provisions and analysis of tax
  9/8/2022      JCH          filings                                                                         0.90 $           648.00
                             Review of correspondence from MBNF counsel re: comments to MOU
  9/8/2022      JCH          execution documents and review of underlying documents regarding same           0.60 $           432.00
                             Conference with D. Shapiro re: analysis of tax filing issues for MOU
  9/8/2022      JCH          implementation                                                                  0.30 $           216.00
  9/8/2022      JCH          Review and analyze updated draft of Operating Agreement for MBNF                0.30 $           216.00
                             Conference with J. Dinome and debtors' insurance broker re: coverage
  9/8/2022      JCH          amendment under MOU                                                             0.30 $           216.00
                             Review of insurance materials in preparation for call with broker and J.
  9/8/2022      JCH          Dinome                                                                          0.20 $           144.00
  9/8/2022      JCH          Conference with J. Dinome re: MOU implementation update                         0.30 $           216.00
                             Further review and analysis of MBNF comments to escrow agent direction
  9/8/2022      JCH          letter                                                                          0.40 $           288.00
                             Review of correspondence from MBNF counsel re: further comments and
  9/8/2022      JCH          MOU closing issues                                                              0.20 $           144.00
  9/9/2022      JCH          Review and analyze MBNF entities' revised governance documents                  0.40 $           288.00
                             Correspondence with D. Brennan re: comments to MBNF revised
  9/9/2022      JCH          governance documents                                                            0.20 $           144.00
                             Review and analyze correspondence from A. Wilen re: Broad Street entity
  9/9/2022      JCH          funding request and respond to same                                             0.20 $           144.00
                             Conference with A. Wilen and J. Dinome re: MOU implementation issues
  9/9/2022      JCH          and update                                                                      0.50 $           360.00
  9/9/2022      JCH          Correspondence with mediator re: MOU closing logistics                          0.10 $            72.00
                             Review and analyze correspondence from MBNF re: funding details for real
  9/9/2022      JCH          estate entities                                                                 0.20 $           144.00

  9/9/2022      JCH          Telephone to A. Wilen re: follow up regarding Broad Street funding request      0.20 $           144.00
                             Review and analyze MBNF LLC agreement provision as modified re:
  9/9/2022      JCH          dissolution provision                                                           0.20 $           144.00
                             Correspondence with S. Brown, counsel to HSRE, re: debtor comments on
  9/9/2022      JCH          operating agreement                                                             0.20 $           144.00
  9/9/2022      JCH          Correspondence with D. Brennan re: operating agreement comments                 0.20 $           144.00
                             Correspondence with K. Hayden, counsel to Tenet, re: MOU funding and
  9/9/2022      JCH          regarding implementation issues                                                 0.20 $           144.00

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                              Correspondence with Omni, escrow agent, re: information for settlement
  9/9/2022       JCH          funding                                                                      0.30   $        216.00
  9/9/2022       JCH          Telephone from J. Dinome re: funding details for MOU payments                0.20   $        144.00
  9/9/2022       JCH          Prepare MOU closing documents                                                1.40   $      1,008.00
  9/9/2022       JCH          Review and analyze and note comments to MBNF Direction letter draft          0.40   $        288.00
  9/9/2022       JCH          Review of and revise escrow agent Direction letter draft                     1.70   $      1,224.00
                              Correspondence with mediation parties re: MOU implementation issues and
  9/9/2022       JCH          closing logistics                                                            0.40 $             288.00
                              Correspondence with MBNF counsel re: further comments to Direction
  9/9/2022       JCH          letter and escrow agent instruction letter                                   0.30 $             216.00
                              Correspondence and conference with P. Deutch and J. Doherty of Omni re:
  9/9/2022       JCH          documents received                                                           0.20 $             144.00
  9/9/2022       JCH          Review and analyze pension fund payoff letter                                0.10 $              72.00
                              Review and analyze status of MOU closing documents and open issues re:
  9/9/2022       JCH          same                                                                         0.20 $             144.00
                              Review and analyze draft memo received from MBNF counsel re: insurance
  9/9/2022       JCH          policy issue                                                                 0.20 $             144.00
                              Review and analyze additional comments received from MBNF counsel to
  9/10/2022      JCH          implement documents and note comments to same                                0.80 $             576.00
                              Correspondence with S. Mapes, Debtors' Vermont counsel, re: MOU
  9/10/2022      JCH          implementation and regarding dissolution checklist and materials             0.30 $             216.00
                              Correspondence and call from S. Brown, counsel to HSRE, re: open MOU
  9/10/2022      JCH          implementation issues                                                        0.20 $             144.00
                              Conference with A. Isenberg re: revise MOU implementation materials and
  9/10/2022      JCH          open issues regarding same                                                   1.60 $        1,152.00
                              Review of correspondence from MBNF re: further comments to escrow
  9/10/2022      JCH          agent instructions and follow up regarding same                              0.40 $             288.00
                              Review and analyze correspondence from S. Brown, counsel to HSRE, re:
  9/10/2022      JCH          MOU closing document revision                                                0.10 $              72.00
  9/10/2022      JCH          Hard read of MOU to confirm closing issues are all being addressed           0.30 $             216.00
                              Review and analyze amended operating agreement for PAHH re: issue
  9/10/2022      JCH          raised by HSRE                                                               0.20 $             144.00
                              Correspondence with A. Wilen and J. Dinome re: MBNF additional funding
  9/10/2022      JCH          request                                                                      0.20 $             144.00
                              Correspondence with MBNF counsel re: additional comments to MOU
  9/10/2022      JCH          implementation documents                                                     0.40 $             288.00
                              Correspondence with MBNF counsel re: MOU implementation document
  9/11/2022      JCH          documents                                                                    0.70 $             504.00
                              Review and analyze comments to MOU implementation notice and follow
  9/11/2022      JCH          up regarding same                                                            0.20 $          144.00
  9/11/2022      JCH          Prepare for meeting with MOU Escrow Agent                                    0.50 $          360.00
  9/11/2022      JCH          Travel to New York city re: preparation for MOU closing process              2.40 $        1,728.00
                              Correspondence with K. Harden, Tenet counsel, re: MOU condition waiver
  9/12/2022      JCH          inquiry                                                                      0.20 $             144.00
                              Correspondence and conference with J. Kerry re: MOU implementation
  9/12/2022      JCH          issues                                                                       0.30 $             216.00
                              Conference with counsel to MBNF and Judge Carey re: open MOU
  9/12/2022      JCH          implementation issues                                                        0.60 $          432.00
  9/12/2022      JCH          Meeting at Omni re: prepare for MOU implementation                           9.70 $        6,984.00
                              Conference with mediation parties and Judge Carey to confirm filing of
  9/13/2022      JCH          MOU implementation date notice                                               0.90 $             648.00
                              Attend and conduct MOU implementation and closing in New York with
  9/13/2022      JCH          mediator, Judge Carey                                                        9.30 $        6,696.00
  9/13/2022      JCH          Return travel from New York from closing with mediator                       2.90 $        2,088.00
  9/14/2022      JCH          Correspondence with J. Tertel of NKF re: real estate inquiry                 0.10 $           72.00
                              Review and analyze correspondence from B. Brinkman of Paladin re: bank
  9/14/2022      JCH          account transitions                                                          0.10 $              72.00
                              Correspondence with A. Wilen and J. Dinome re: bank account changes in
  9/14/2022      JCH          light of MOU implementation                                                  0.20 $             144.00
                              Review of correspondence from B. Brinkman re: Brinkman and Attestatova
  9/14/2022      JCH          resignations                                                                 0.10 $              72.00
                              Review and analyze MOU provisions re: insurance issues and regarding
  9/14/2022      JCH          premium rights                                                               0.30 $             216.00
                              Draft correspondence to S. Mitnick of PAHS Equity Buyer confirming
  9/14/2022      JCH          MOU implementation regarding offer issues                                    0.20 $             144.00

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    Date      Timekeeper                                    Description                                     Hours         Value
                              Correspondence with S. Mapes, debtors' Vermont counsel, re: RRG
  9/14/2022      JCH          transition issues                                                                0.10 $              72.00
                              Conference with D. Pacitti re: implementation of MOU and regarding open
  9/14/2022      JCH          issues regarding same                                                            0.30 $             216.00
                              Review of correspondence with J. Dinome re: case strategy regarding Steam
  9/14/2022      JCH          dispute at real estate                                                           0.10 $              72.00

  9/14/2022      JCH          Correspondence with S. Mitnick re: MOU implementation follow up issues           0.20 $             144.00
                              Correspondence with J. Dinome re: overview of previous discussions with
  9/14/2022      JCH          insurance broker                                                                 0.20 $             144.00
                              Review of MOU implementation documents received from closing and
  9/14/2022      JCH          attend to those to be recorded and filed                                         0.60 $             432.00
                              Review of correspondence from J. Carey, mediator, re: closing documents
  9/14/2022      JCH          follow up                                                                        0.20 $             144.00
                              Correspondence with counsel to MBNF re: closing documents to be
  9/14/2022      JCH          delivered                                                                        0.20 $             144.00
                              Telephone to P. Deutch, escrow agent, re: release of final MOU
  9/14/2022      JCH          implementation documents                                                         0.20 $             144.00
                              Conference with Lockton and J. Dinome re: insurance transfer for MOU
  9/14/2022      JCH          implementation                                                                   0.30   $           216.00
  9/14/2022      JCH          Telephone to J. Dinome re: insurance follow up                                   0.20   $           144.00
  9/14/2022      JCH          Conference with M. Doyle re: finalizing recordable documents from MOU            0.50   $           360.00
  9/14/2022      JCH          Review and analyze and revise MOU Release Notice draft                           0.30   $           216.00
                              Prepare for call with counsel to MBNF equity buyer re: finalizing
  9/14/2022      JCH          documents and closing materials                                                  0.20 $             144.00
                              Conference with counsel to MBNF Equity Buyer re: insurance issue for real
  9/14/2022      JCH          estate                                                                           0.40 $             288.00
                              Correspondence with A. Wilen and J. Dinome re: bank account protocol for
  9/14/2022      JCH          Broad Street operations                                                          0.10 $              72.00
  9/14/2022      JCH          Conference with D. Shapiro re: power of attorney analysis                        0.10 $              72.00
  9/14/2022      JCH          Review of correspondence with counsel to Ironstone re: Steam dispute             0.10 $              72.00

  9/14/2022      JCH          Correspondence with A. Wilen re: funding accounts for real estate expenses       0.10 $              72.00
                              Review of correspondence from J. Dinome re: building issues to be
  9/14/2022      JCH          addressed                                                                        0.20 $             144.00
                              Draft correspondence to Lockton re: settlement agreement provisions to
  9/14/2022      JCH          review for real estate issues                                                    0.20 $             144.00
                              Draft correspondence to S. Uhland, MBNF counsel, re: cooperation request
  9/14/2022      JCH          for transition of real estate                                                    0.20 $             144.00
                              Correspondence with mediation parties re: comments to MOU Release
  9/14/2022      JCH          Notice                                                                           0.30 $             216.00
                              Further correspondence with mediation parties re: MOU Release
  9/14/2022      JCH          certification                                                                    0.20 $             144.00
                              Attend to post MOU implementation issues re: finalizing documents and
  9/14/2022      JCH          closing materials                                                                0.70 $             504.00

  9/14/2022      JCH          Review and analyze correspondence from A. Wilen re: case strategy update         0.10 $              72.00
                              Review of correspondence from counsel to Shelly Electric re: resolution of
  9/14/2022      JCH          dispute with debtors                                                             0.10 $              72.00
                              Correspondence with M. Minuti re: avoidance action dispute issue and
  9/14/2022      JCH          proposed resolution of same                                                      0.20 $             144.00
  9/15/2022      JCH          Review and analyze MOU provisions re: release notice                             0.40 $             288.00
  9/15/2022      JCH          Conference with M. Minuti re: MOU release notice                                 0.20 $             144.00

  9/15/2022      JCH          Prepare for call with mediator and mediation parties re: MOU release notice      0.20 $             144.00
                              Participate in mediation call with Judge Carey and mediation parties re:
  9/15/2022      JCH          MOU release notice                                                               0.30 $             216.00
  9/15/2022      JCH          Draft follow up correspondence to Lockton re: policy transition issues           0.20 $             144.00
                              Correspondence J. Dinome of PAHS re: MBNF action regarding insurance
  9/15/2022      JCH          policies                                                                         0.10 $              72.00
  9/15/2022      JCH          Review of correspondence with mediation parties re: certification                0.30 $             216.00
                              Review and analyze MOU closing correspondence to review implementation
  9/15/2022      JCH          step                                                                             0.20 $             144.00
  9/15/2022      JCH          Correspondence with mediation parties re: wires and MOU closing steps            0.20 $             144.00
                              Correspondence with S. Mitnick re: MOU implementation and regarding
  9/15/2022      JCH          meeting to discuss status and issues                                             0.20 $             144.00

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    Date      Timekeeper                                      Description                                      Hours         Value
                              Review of background materials re: potential broker candidates for real
  9/15/2022      JCH          estate                                                                              0.40 $             288.00
  9/15/2022      JCH          Draft correspondence to JLL re: broker issue for real estate                        0.20 $             144.00
                              Correspondence with client team and with S. Mitnick re: MOU release
  9/15/2022      JCH          notice                                                                              0.30 $             216.00
                              Correspondence with K. Hayden, counsel to Tenet, re: MOU closing
  9/15/2022      JCH          direction letter inquiry                                                            0.10 $              72.00
                              Correspondence with mediation parties re: confirming document releases
  9/15/2022      JCH          and regarding responding to implementation inquiries                                0.40 $             288.00
  9/15/2022      JCH          Telephone calls from and to A. Wilen re: bank account issues                        0.30 $             216.00
  9/15/2022      JCH          Review and analyze bank accounts to be established and to be closed                 0.40 $             288.00
                              (2) Telephone calls from and to J. Dinome re: case strategy issues in light of
  9/15/2022      JCH          MOU closing                                                                         0.30 $             216.00
                              Correspondence with Sheila Callison of Lockton re: insurance policy
  9/15/2022      JCH          transition for real estate                                                          0.30 $             216.00
  9/15/2022      JCH          Correspondence with Hilco re: real estate brokerage opportunity                     0.20 $             144.00
                              Correspondence with counsel to MBNF Equity Buyer re: insurance policy
  9/15/2022      JCH          delineations                                                                        0.10 $              72.00

  9/15/2022      JCH          Conference with M. Minuti re: analysis of case strategy re: Huron complaint         0.20 $             144.00
  9/15/2022      JCH          Review of correspondence with counsel to CONA re: dismissal documents               0.10 $              72.00
  9/15/2022      JCH          Correspondence with case team re: recording documents and UCC filings               0.30 $             216.00
                              Develop case strategy for MOU implementation issues and real estate
  9/15/2022      JCH          transition                                                                          1.30 $             936.00
                              Review and analyze correspondence from counsel to Huron re: comments to
  9/15/2022      JCH          settlement draft and develop response to same                                       0.20 $             144.00
                              Review of correspondence with J. Dinome re: case strategy regarding
  9/15/2022      JCH          pending litigation matter                                                           0.20   $           144.00
  9/16/2022      JCH          Prepare for call with Hilco representations re: real estate                         0.20   $           144.00
  9/16/2022      JCH          Conference with Hilco representative re: real estate marketing                      0.80   $           576.00
  9/16/2022      JCH          Prepare for call with S. Mitnick of PAHS Equity Buyer                               0.30   $           216.00
                              Conference with A. Wilen, John Dinome and S. Mitnick re: update from
  9/16/2022      JCH          MOU closing                                                                         0.60 $             432.00
                              Review and analyze closing document set in preparation for finalizing same
  9/16/2022      JCH          for distribution to mediation parties                                               0.70 $             504.00
                              Review and analyze correspondence from Lockton, insurance broker, re:
  9/16/2022      JCH          coverage option for real estate and liability coverage                              0.40 $             288.00
  9/16/2022      JCH          Prepare for call with S. Callison of Lockton re: coverage issues                    0.20 $             144.00
  9/16/2022      JCH          Conference with Lockton re: transition of insurance coverage for real estate        0.40 $             288.00
                              Conference with J. Dinome re: building insurance follow up and re: meeting
  9/16/2022      JCH          with NKF                                                                            0.20 $             144.00
                              Correspondence and conference with A. Mezzaroba re: completion of MOU
  9/16/2022      JCH          process and next steps for real estate process                                      0.30 $             216.00
                              Correspondence with J. Dinome and A. Perno re: meeting with NKF,
  9/16/2022      JCH          agenda for same, and property issues                                                0.30 $             216.00
  9/16/2022      JCH          Correspondence with J. Dinome and A Perno re: building transition issues            0.30 $             216.00
  9/16/2022      JCH          Review of and revise closing document set                                           0.60 $             432.00
                              Correspondence with A. Wilen and J. Dinome re: MOU steps completed and
  9/16/2022      JCH          implication of same                                                                 0.20 $             144.00
  9/16/2022      JCH          Correspondence with case team re: MOU implementation follow up inquiry              0.30 $             216.00
                              Correspondence with MBNF counsel re: final stipulation of dismissal for
  9/16/2022      JCH          adversary proceeding                                                                0.10 $              72.00
                              Review and analyze draft analysis of amount owing from HSRE for
  9/16/2022      JCH          mediation cost reimbursement                                                        0.20 $             144.00
                              Review of correspondence and draft objection for claims and
  9/16/2022      JCH          correspondence with Eisner team re: same                                            0.20 $             144.00
                              Review of correspondence with mediation parties re: dismissals of
  9/16/2022      JCH          complaints filed                                                                    0.20 $             144.00
  9/16/2022      JCH          Conference with M. Minuti re: dispute regarding adversary proceeding                0.20 $             144.00
                              Review and analyze complaint filed to recover US Trustee fees and analysis
  9/16/2022      JCH          of application to current cases                                                     0.20 $             144.00
                              Develop proposed structure for building broker interview process and timing
  9/18/2022      JCH          for same                                                                            0.40 $             288.00
                              Correspondence with J. Schneider of Hilco re: building marketing process
  9/18/2022      JCH          inquiry                                                                             0.10 $              72.00

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    Date      Timekeeper                                      Description                                       Hours         Value
                              Review and analyze case status and identify open case issues and case
  9/18/2022      JCH          strategy re: same                                                                    0.70 $             504.00
                              Review and analyze D&O policies re: ability to modify covered entities
  9/18/2022      JCH          under same                                                                           0.40 $             288.00
                              Review and analyze liability and property damage policies re: scope of
  9/18/2022      JCH          coverage                                                                             0.30 $             216.00
  9/18/2022      JCH          Review and analyze file materials re: CMS cost adjustment dispute                    0.30 $             216.00
                              Review of correspondence and revised draft of stipulation to dismiss
  9/18/2022      JCH          District Court appeal                                                                0.20 $             144.00
  9/19/2022      JCH          Review and analyze HPP notes and by-laws re: monetization of same                    0.70 $             504.00
                              Correspondence with K. Hayden, counsel to Tenet, re: broker outreach and
  9/19/2022      JCH          avoidance action issue                                                               0.20 $             144.00
  9/19/2022      JCH          Review and analyze MOU issue re: confidentiality rights under ABA                    0.20 $             144.00
                              Review of correspondence with T. Judge, counsel to Carrier, re: payment
  9/19/2022      JCH          under settlement with debtors                                                        0.20 $             144.00
                              Correspondence with C. Lee re: overview of equity change under MOU and
  9/19/2022      JCH          analysis of coverage issue regarding same                                            0.20 $             144.00
                              Review and analyze correspondence from J. Dinome re: FIT litigation issues
  9/19/2022      JCH          and analysis                                                                         0.30 $             216.00
                              Correspondence with RRG counsel re: MOU implementation and regarding
  9/19/2022      JCH          next steps for RRG                                                                   0.20 $             144.00
                              Review of correspondence re: status of documents being recorded and
  9/19/2022      JCH          follow up regarding same                                                             0.20 $             144.00
                              Review of correspondence with MBNF re: closing document follow up
  9/19/2022      JCH          inquiries                                                                            0.20 $             144.00
                              Correspondence with S. Mitnick re: MOU implementation inquiry and
  9/19/2022      JCH          develop response to same                                                             0.30 $             216.00
                              Correspondence with S. Mapes, Debtors' Vermont counsel, re: RRG
  9/19/2022      JCH          liquidation steps                                                                    0.20 $             144.00
                              Review and analyze CMS reimbursement detail and Dixon Hughes analysis
  9/19/2022      JCH          of same                                                                              0.70 $             504.00
  9/19/2022      JCH          Review of correspondence with Adeola of Eisner re: omnibus claim issues              0.20 $             144.00
                              Review and analyze correspondence with counsel to Huron re: settlement
  9/19/2022      JCH          agreement issues                                                                     0.20   $           144.00
  9/19/2022      JCH          Review and analyze ASA closing documents re: HRE complaint issue                     0.40   $           288.00
  9/19/2022      JCH          Correspondence with client team re: MOU closing documents                            0.20   $           144.00
  9/20/2022      JCH          Conference with R. Cartola of JLL re: real estate background                         0.50   $           360.00
  9/20/2022      JCH          Conference with A. Isenberg re: follow up from call with broker candidate            0.20   $           144.00
  9/20/2022      JCH          Correspondence with broker candidates for real estate process                        0.20   $           144.00
                              Correspondence with T. McDonald of Eastdil re: potential broker
  9/20/2022      JCH          opportunity                                                                          0.30 $             216.00
  9/20/2022      JCH          Conference with A. Isenberg re: real estate broker selection process                 0.30 $             216.00
  9/20/2022      JCH          Draft correspondence to Oversight Committee re: broker interview process             0.30 $             216.00

  9/20/2022      JCH          Prepare for call with client team re: open case issues and case strategy issues      0.20 $             144.00
                              Conference with client team re: open case issues and case strategy regarding
  9/20/2022      JCH          same                                                                                 0.70   $           504.00
  9/20/2022      JCH          Review of materials for call with J. Dinome re: D&O policy renewal                   0.20   $           144.00
  9/20/2022      JCH          Conference with J. Dinome and C. Lee re: D&O policy modification                     0.60   $           432.00
  9/20/2022      JCH          Review and analyze oversight Committee protocols                                     0.30   $           216.00

  9/20/2022      JCH          Correspondence with J. Dinome re: pending litigation matter case strategy            0.20 $             144.00
                              Correspondence with A. Wilen and J. Dinome re: RRG wind down and
  9/20/2022      JCH          initial board meeting                                                                0.30 $             216.00
                              Correspondence with RRG counsel and debtors' Vermont counsel re: RRG
  9/20/2022      JCH          regarding MOU documents                                                              0.10 $              72.00
                              Review of correspondence and tax bill received from MBNF and
  9/20/2022      JCH          correspondence with J. Dinome re: same                                               0.20 $             144.00
  9/20/2022      JCH          Correspondence with A. Wilen re: RRG meeting issues                                  0.10 $              72.00
  9/20/2022      JCH          Develop case strategy re: steam dispute issue                                        0.40 $             288.00
                              Correspondence and conference with A. Wilen re: update from broker
  9/20/2022      JCH          candidate call and regarding RRG board meeting                                       0.30 $             216.00
                              Review and analyze correspondence from A. Perno re: building issues
  9/20/2022      JCH          update and follow up item regarding same                                             0.20 $             144.00
                              Review and analyze materials re: Tower Health update and analysis of estate
  9/20/2022      JCH          issue regarding same                                                                 0.20 $             144.00


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    Date      Timekeeper                                     Description                                     Hours         Value
                              Correspondence with S. Mapes, debtors' Vermont counsel, re: board meeting
  9/20/2022      JCH          follow up                                                                         0.10 $              72.00
  9/20/2022      JCH          Review and analyze property reporting information received from Paladin           0.30 $             216.00
                              Review of correspondence from T. Raymond of STC OpCo re: straddle
  9/20/2022      JCH          payment update                                                                    0.10 $              72.00

  9/20/2022      JCH          Review of correspondence from J. Dinome re: real estate reporting protocol        0.10   $            72.00
  9/20/2022      JCH          Review of recorded mortgage amendments and related filed documents                0.20   $           144.00
  9/20/2022      JCH          Review of correspondence with A. Wilen re: Substantive claim objection            0.10   $            72.00
  9/20/2022      JCH          Conference with M. Minuti re: case strategy as to FIT and Huron litigation        0.40   $           288.00
  9/20/2022      JCH          Review of MOU provisions re: required scope of release in pending action          0.20   $           144.00
  9/20/2022      JCH          Review and analyze FIT complaint re: scope of parties and claim asserted          0.30   $           216.00

  9/21/2022      JCH          Correspondence with A. Mezzaroba re: real estate broker retention process         0.10 $              72.00

  9/21/2022      JCH          Analysis of broker selection process and number of brokers to be considered       0.40 $             288.00
                              Correspondence with K. Hayden, counsel to Tenet re: broker retention
  9/21/2022      JCH          process and candidates for same                                                   0.20 $             144.00
                              Correspondence with S. Mapes, debtors' Vermont counsel re: RRG board
  9/21/2022      JCH          meeting                                                                           0.20 $             144.00
                              Review of correspondence from A. Perno re: building assessments update
  9/21/2022      JCH          and scope overview                                                                0.20 $             144.00
                              Review and analysis of correspondence with client team re: proposal to
  9/21/2022      JCH          address dispute with Tenet                                                        0.20 $             144.00
                              Review and analysis of budget draft and related correspondence received
  9/21/2022      JCH          from NKF re: real estate                                                          0.30 $             216.00
                              Review and analysis of correspondence from counsel to Intact Surety Group
  9/21/2022      JCH          re: requested bond redemption                                                     0.20 $             144.00
                              Draft correspondence to J. O'Holloran, counsel to Intact Surety Group
  9/21/2022      JCH          confirming bond release and MOU approval                                          0.20 $             144.00
                              Review of correspondence from M. Doyle re: timing for recording
  9/21/2022      JCH          additional MOU settlement documents                                               0.20 $             144.00
  9/21/2022      JCH          Review and analysis of most recent draft of debtor PA assessment analysis         0.30 $             216.00
                              Correspondence with M. Minuti re: MBNF request for payment of fees per
  9/21/2022      JCH          MOU                                                                               0.10 $              72.00
  9/22/2022      JCH          Prepare for call with Eastdil re: potential broker role for real estate           0.20 $             144.00
                              Conference with representatives of Eastdil re: background for potential role
  9/22/2022      JCH          as broker for real estate                                                         0.60 $             432.00
  9/22/2022      JCH          Review of background information re: broker candidates                            0.40 $             288.00

  9/22/2022      JCH          Correspondence with HSRE counsel re: broker selection process follow-up           0.20   $           144.00
  9/22/2022      JCH          Develop broker selection protocol                                                 0.70   $           504.00
  9/22/2022      JCH          Review and analysis of additional potential broker background materials           0.40   $           288.00
  9/22/2022      JCH          Conference with client team re: update regarding real estate sale process         0.20   $           144.00
  9/22/2022      JCH          Review of property coverage policies re: scope of coverage stock                  0.30   $           216.00
                              Telephone call with A. Mezzaroba re: background of potential brokers for
  9/22/2022      JCH          real estate                                                                       0.40 $             288.00

  9/22/2022      JCH          Correspondence with M. Minuti re: inquiry regarding real estate sale process      0.20 $             144.00
  9/22/2022      JCH          Correspondence with Tenet counsel re: sale process                                0.10 $              72.00
  9/22/2022      JCH          Telephone call to CONA counsel re: sale process follow-up                         0.20 $             144.00
                              Conference with committee counsel re: interim fee request and detail re:
  9/22/2022      JCH          same                                                                              0.20 $             144.00

  9/22/2022      JCH          Review of real estate due diligence materials previously provided by MBNF         0.40 $             288.00
                              Review and analysis of ASI bond materials in light on inquiry received re:
  9/22/2022      JCH          same                                                                              0.30 $             216.00
                              Correspondence with Lockton re: policy revisions follow-up information
  9/22/2022      JCH          request                                                                           0.20 $             144.00
  9/22/2022      JCH          Review of real estate materials re: reciprocal easement analysis                  0.40 $             288.00
  9/22/2022      JCH          Review and analysis of priority claim analysis for PTO and related claims         0.30 $             216.00
                              Review of and correspondence from litigation counsel re: dismissal of
  9/22/2022      JCH          pending state court action and implications of same                               0.20 $             144.00
  9/23/2022      JCH          Review and analysis of prior marketing materials for real estate sale effort      0.30 $             216.00
                              Prepare draft correspondence to broker to be interviewed re: process for
  9/23/2022      JCH          same                                                                              0.20 $             144.00

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    Date      Timekeeper                                     Description                                      Hours       Value
                              Review of correspondence from MBNF counsel and proposed revisions to
  9/23/2022      JCH          notice to carness per MOU                                                          0.10 $         72.00
  9/23/2022      JCH          Develop updated schedule of open items in case                                     1.40 $      1,008.00
                              Review and analysis of draft correspondence to Tenet counsel re: CMS
  9/23/2022      JCH          reimbursement cases and note comments to same                                      0.30 $           216.00
                              Review and analysis of governance documents for PAHS Equity Buyer and
  9/23/2022      JCH          PAHS Holdco LLC                                                                    0.30 $           216.00
                              Review of correspondence from counsel to mediator party re: representative
  9/23/2022      JCH          for oversight committee                                                            0.10 $            72.00
  9/23/2022      JCH          Develop broker interview and information request procedures                        0.60 $           432.00
                              Review of correspondence from escrow agent from MOU closing and
  9/23/2022      JCH          review of documents in response to same                                            0.30 $           216.00
                              Review and analysis of MOU provisions re: wind-down of non-debtor
  9/23/2022      JCH          entities and timing of same                                                        0.20 $           144.00
                              Further review of and revise case open items schedule and note comments to
  9/23/2022      JCH          items                                                                              0.40 $           288.00
                              Review and analysis of dispute regarding Cruz action and review of
  9/23/2022      JCH          documents re: same                                                                 0.30 $           216.00
                              Review of and revise correspondence with counsel to Cruz re: disputed
  9/23/2022      JCH          litigation issue                                                                   0.20 $           144.00
                              Review and analysis of file materials and documents re: former ASA claims
  9/23/2022      JCH          asserted by Tenet                                                                  0.90 $           648.00
                              Review of correspondence from counsel to D&O carrier re: procedures for
  9/23/2022      JCH          funding of settlement payment                                                      0.10 $            72.00
                              Review of recent Delaware Court decision on third party plan release
  9/23/2022      JCH          provision                                                                          0.20 $           144.00

  9/25/2022      JCH          Draft correspondence to R. Fahey of CBRE re: broker candidate assistance           0.20 $           144.00

  9/25/2022      JCH          Review of background materials for each of potential brokers for real estate       0.60 $           432.00
                              Review and analysis of real estate financial materials re: analysis of
  9/25/2022      JCH          additional funding needs                                                           0.30 $           216.00
  9/25/2022      JCH          Review and analysis of open payment obligations under MOU                          0.20 $           144.00
                              Review and analysis of correspondence from J. DiNome and note comments
  9/26/2022      JCH          to same re: issues to be addressed in meeting with NKF                             0.30 $           216.00
                              Review of correspondence from R. Williams of Phoenix Group re: potential
  9/26/2022      JCH          interested party for real estate                                                   0.10 $            72.00
                              Review and analysis of correspondence from S. Brown, counsel to HSRE re
  9/26/2022      JCH          payments under MOU and machines for sale                                           0.20 $           144.00
                              Review of correspondence from K. Carey, mediator re: MOU
  9/26/2022      JCH          reimbursement provision                                                            0.10 $            72.00
                              Review and analysis of correspondence from G. Keebler of HSRE re: broker
  9/26/2022      JCH          interview process                                                                  0.10 $            72.00
  9/26/2022      JCH          Correspondence with R. Fahey of CBRE re: real estate marketing proposal            0.10 $            72.00

  9/26/2022      JCH          Review and analysis of background of additional proposed broker candidate          0.20 $           144.00
                              Review and analysis of ASA provisions re: cost report adjustment
  9/26/2022      JCH          allocations                                                                        0.40 $           288.00
                              Review and analysis of interim fee orders entered by court in order to direct
  9/26/2022      JCH          client payments of same                                                            0.20 $           144.00
                              Review and analysis of research results re: priority status of claim asserted
  9/26/2022      JCH          by City                                                                            0.30 $           216.00
                              Review of and revise agenda draft for meeting with real estate property
  9/26/2022      JCH          manager                                                                            0.20 $           144.00
                              Review and analysis of and note comments to draft settlement with workers'
  9/26/2022      JCH          compensation program                                                               0.30 $           216.00
  9/26/2022      JCH          Review of withdrawal of HSRE application for administrative claim                  0.10 $            72.00
                              Review and analysis of redacted invoice received from MBNF re: adversary
  9/26/2022      JCH          proceeding                                                                         0.10 $            72.00
                              Correspondence with J. Tertel of NKF re: broker opportunity for real estate
  9/27/2022      JCH          and re: building issue                                                             0.20 $           144.00
                              Correspondence with A. Wilen and J. DiNome re: building issue raised by
  9/27/2022      JCH          NKF                                                                                0.10 $            72.00
                              Correspondence with G. Keebler of HSRE re: broker candidates for real
  9/27/2022      JCH          estate                                                                             0.30 $           216.00
                              Correspondence with A. Wilen and J. DiNome re: broker interview process
  9/27/2022      JCH          and broker candidates                                                              0.20 $           144.00

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    Date      Timekeeper                                     Description                                     Hours         Value
                              Review and analysis of information requests to provide to each broker
  9/27/2022      JCH          candidate                                                                         0.20 $             144.00
                              Conference with CBRE team re: real estate background and proposal to
  9/27/2022      JCH          brokers re: same                                                                  0.60 $             432.00
                              Review and analysis of Fox Rothschild fee requests and process payment of
  9/27/2022      JCH          same                                                                              0.30   $           216.00
  9/27/2022      JCH          Review and analysis of updated estate waterfall analysis                          0.40   $           288.00
  9/27/2022      JCH          Review of PA assessment analysis re: offsets to amounts asserted                  0.30   $           216.00
  9/27/2022      JCH          Correspondence with A. Wilen re: ninth and tenth interim fee order details        0.20   $           144.00
                              Review of materials from MOU closing re: MBNF follow-up request re:
  9/27/2022      JCH          same                                                                              0.30 $             216.00
                              Correspondence with P. Deutch, escrow agent under MOU and follow-up
  9/27/2022      JCH          re: same                                                                          0.20 $             144.00
                              Review and analysis of correspondence from RRG counsel re: dissolution
  9/27/2022      JCH          issues and checklist                                                              0.20 $             144.00
                              Correspondence with J. DiNome of PAHS re: real estate project being
  9/27/2022      JCH          undertaken                                                                        0.20 $             144.00
                              Correspondence with A. Wilen and J. DiNome project at property and issues
  9/27/2022      JCH          re: same                                                                          0.20 $             144.00
                              Telephone call to A. Wilen re: real estate issues, monthly process and re:
  9/27/2022      JCH          broker interviews                                                                 0.10 $              72.00
                              Review and analysis of correspondence from Surety Group and
  9/27/2022      JCH          accompanying document re: bond termination and proceeds distribution              0.20 $             144.00
                              Correspondence with K. Hayden, Tenet counsel re: proposal to resolve
  9/27/2022      JCH          avoidance action dispute                                                          0.10 $              72.00
                              Review of correspondence from counsel to MBNF re: comments to draft
  9/27/2022      JCH          letter to carriers under MOU                                                      0.10 $              72.00
  9/27/2022      JCH          Develop information requests and interview points for broker interviews           0.80 $             576.00
  9/27/2022      JCH          Review of and revise SEAL monthly submission for August 2022                      0.90 $             648.00
                              Review and analysis of pending plan draft and analysis of revisions required
  9/27/2022      JCH          for same                                                                          0.60 $             432.00
                              Conference with A. Wilen and J. DiNome re: broker candidates and
  9/28/2022      JCH          interview protocol                                                                0.80 $             576.00
  9/28/2022      JCH          Telephone call with S. Victor of SSG re: real estate marketing interviewers       0.20 $             144.00
                              Draft correspondence to six firms re: invitation for real estate interview
  9/28/2022      JCH          process                                                                           0.70 $             504.00
                              Prepare for meeting with RRG counsel and review of materials prepared for
  9/28/2022      JCH          same                                                                              0.30 $             216.00
                              Conference with RRG counsel, Jesse Creary and debtors' Vermont counsel
  9/28/2022      JCH          re: RRG dissolution process and issues                                            0.70 $             504.00
                              Review of case file materials and develop response to Tenet settlement
  9/28/2022      JCH          request                                                                           0.40 $             288.00
                              Correspondence with A. Wilen and J. DiNome re: NKF meeting and issues
  9/28/2022      JCH          to be addressed                                                                   0.20 $             144.00
                              Review of materials in preparation for meeting with Eisner team re: hospital
  9/28/2022      JCH          assessment analysis                                                               0.20 $             144.00
                              Conference with A. Wilen and A. Akinrinade re: review of analysis of
  9/28/2022      JCH          components of state assessment and amounts owing to debtors                       0.70 $             504.00
                              Review of correspondence with counsel to D&O carrier re: procedure to
  9/28/2022      JCH          fund settlement payment                                                           0.20 $             144.00
                              Review of correspondence from J. DiNome re: proposal to transfer certain
  9/28/2022      JCH          assets in hospital building                                                       0.10 $              72.00
                              Correspondence with A. Wilen and J. DiNome re: building utility survey
  9/28/2022      JCH          project and re: server relocation project                                         0.30 $             216.00
                              Analysis of assessment issues re: debtors entitlement to payment under
  9/28/2022      JCH          certain programs                                                                  0.30 $             216.00
                              Correspondence with A. Wilen and J. DiNome re: bank accounts to be
  9/28/2022      JCH          opened for real estate and for estate expenses                                    0.20 $             144.00
                              Review and analysis of correspondence from S. Mapes, debtors' Vermont
                              counsel re: comments to RRG dissolution checklist and bank account
  9/28/2022      JCH          resolution                                                                        0.10 $              72.00
                              Review and analysis of resolution draft received from RRG counsel re: wind
  9/28/2022      JCH          down implementation                                                               0.10 $              72.00
                              Correspondence with S. Mitnick of PAHS equity buyer re: governance
  9/28/2022      JCH          documents                                                                         0.10 $              72.00
  9/28/2022      JCH          Telephone call to S. Mitnick of PAHS Equity Buyer re: governance                  0.10 $              72.00


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    Date      Timekeeper                                     Description                                     Hours         Value
                              Review and analysis of closing document files re: document requested by
  9/28/2022      JCH          Paladin                                                                           0.20 $             144.00
                              Telephone call to P. Deutch, MOU escrow agent re: additional MOU closing
  9/28/2022      JCH          document follow-up                                                                0.20 $             144.00
                              Review and analysis of updated RRG resolution draft received from J.
  9/28/2022      JCH          Creary, RRG counsel                                                               0.10 $              72.00
                              Telephone call with A. Mezzaroba re: meeting with property management
  9/28/2022      JCH          company                                                                           0.10 $              72.00
                              Draft correspondence to mediation parties re: brokers to be interviewed re:
  9/28/2022      JCH          real estate and process for same                                                  0.30 $             216.00
                              Correspondence with J. DiNome and A. Wilen re: RRG resolution final
  9/28/2022      JCH          terms                                                                             0.20 $             144.00
                              Telephone call from P. Deutch, escrow agent re: open document from MOU
  9/28/2022      JCH          closing                                                                           0.10 $              72.00
                              Correspondence with committee counsel re: broker interview scheduling and
  9/28/2022      JCH          re: assessment claim analysis                                                     0.20 $             144.00
                              Review and analysis of correspondence with counsel to debtors in state
  9/28/2022      JCH          court action against Tenet re: dismissal details                                  0.20 $             144.00
                              Telephone call from and correspondence with J. Schneider of Hilco re:
  9/29/2022      JCH          follow-up regarding broker proposal presentation                                  0.20 $             144.00
                              Correspondence with R. Carwla of JLL re: real estate broker interview
  9/29/2022      JCH          process follow-up                                                                 0.10 $              72.00
                              Correspondence with S. Brown, counsel to HSRE re: broker selection
  9/29/2022      JCH          process inquiry                                                                   0.20   $        144.00
  9/29/2022      JCH          Prepare for meeting with property manager for Hahnemann real estate               0.40   $        288.00
  9/29/2022      JCH          Telephone to/from P. Deutch re: closing document inquiry                          0.20   $        144.00
  9/29/2022      JCH          Meeting with client and property manager team at Hahnemann property               4.10   $      2,952.00
  9/29/2022      JCH          Correspondence with A. Wilen re: new bank accounts to be opened                   0.20   $        144.00
                              Correspondence with L. Curcio, counsel to CONA re: timing of settlement
  9/29/2022      JCH          payment to debtors under MOU                                                      0.20 $             144.00
                              Telephone call from J. DiNome re: RRG bank account revision and re:
  9/29/2022      JCH          easement review                                                                   0.20 $             144.00
                              Review and analysis of and develop case strategy re: funding and release of
  9/29/2022      JCH          disbursements for real estate proceeds                                            0.40 $             288.00
                              Review and analysis of correspondence and draft PA termination letter for
  9/29/2022      JCH          RRG received from RRG counsel ad note comments to same                            0.20 $             144.00
                              Correspondence with Del of EisnerAmper re: details for broker interview
  9/29/2022      JCH          process                                                                           0.10 $              72.00
                              Correspondence with A. Wilen re: funding of PAHS Equity Buyer under
  9/29/2022      JCH          MOU and process to fund same                                                      0.20 $             144.00
                              Prepare draft correspondence to D&O carrier re: settlement agreement
  9/29/2022      JCH          overview and requested modification to policies re: same                          0.30 $             216.00
                              Draft correspondence to J. DiNome re: proposed correspondence to broker
  9/29/2022      JCH          re: D&O policy modifications                                                      0.10 $              72.00
                              Correspondence with J. DiNome of PAHS re: outreach to D&O carrier
  9/29/2022      JCH          broker                                                                            0.20 $             144.00
  9/29/2022      JCH          Review of and revise updated Saul Ewing August draft                              0.60 $             432.00
                              Correspondence and conference with C. Grabstein re: Eastdil inquiry re: sale
  9/30/2022      JCH          process                                                                           0.40 $             288.00
                              Correspondence with T. McDonald of Eastdil re: brokerage selection
  9/30/2022      JCH          process                                                                           0.10 $              72.00
                              Review and analysis of follow-up materials from meeting with real estate
  9/30/2022      JCH          management company                                                                0.30 $             216.00
                              Conference with A. Wilen re: details and structure for broker interview
  9/30/2022      JCH          process                                                                           0.60 $             432.00
  9/30/2022      JCH          Correspondence with A&G Realty re: broker interview proposal                      0.20 $             144.00
                              Telephone call from A. Wilen re: building encroachment issue and next
  9/30/2022      JCH          steps re: same                                                                    0.20 $             144.00
  9/30/2022      JCH          Correspondence with R. Carida of JLL re: broker interview process                 0.20 $             144.00
                              Review of materials in preparation for call with Tenet counsel re: avoidance
  9/30/2022      JCH          action and CMS issue                                                              0.30 $             216.00
                              Conference with K. Hayden, counsel to Tenet re: avoidance action and CMS
  9/30/2022      JCH          issue                                                                             0.30 $             216.00
                              Review and analysis of correspondence from B. Pederson of Eisner re: Iron
  9/30/2022      JCH          Stone records issue                                                               0.20 $             144.00
                              Correspondence with S. Mitnick of PAHS Equity Buyer, Inc. re: MOU
  9/30/2022      JCH          implementation follow-up                                                          0.20 $             144.00

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    Date      Timekeeper                                   Description                                   Hours        Value
  9/30/2022      JCH          Draft correspondence to A. Wilen re: PAHS Equity Buyer inquiry                0.10 $             72.00
                              Review and analysis of correspondence from A. Perno of PAHS re: Iron
  9/30/2022      JCH          Stone access request                                                          0.10 $             72.00
  9/30/2022      JCH          Review of updated PARRG registration withdrawal                               0.10 $             72.00
                              Correspondence with J. DiNome of PAHS re: D&O policy modification
  9/30/2022      JCH          proposal and renewal alternatives                                             0.20 $            144.00
                              Review and analysis of correspondence and accompanying materials
  9/30/2022      JCH          received from C. Marino of PAHS re: HUH records                               0.20 $            144.00
                              Review of correspondence with mediation parties re: reimbursement of
  9/30/2022      JCH          mediation costs and analysis of calculation of same                           0.20 $            144.00
                              Review of correspondence from M. Doyle re: analysis of REA and potential
  9/30/2022      JCH          unrestricted use of property                                                  0.20 $            144.00
                              Draft correspondence to all broker interview candidates re: interview
  9/30/2022      JCH          process follow-up                                                             0.20 $            144.00
                              Review and analysis of correspondence with Wells Fargo re: charges to
  9/30/2022      JCH          bank accounts                                                                 0.10 $             72.00

              JCH Total                                                                                    163.90 $    118,008.00




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    Date      Timekeeper                                    Description                                    Hours       Value
                              Telephone conference with A. Kohn re: scheduling issues in Medline
  9/2/2022       JDD          adversary                                                                       0.10 $            77.00
                              Review and analyze e-mails from A. Kohn and Medline counsel re:
  9/2/2022       JDD          scheduling issues in Medline adversary                                          0.10 $            77.00
                              Telephone conference with A. Kohn re: scheduling issues in De Lage
  9/2/2022       JDD          Landen adversary                                                                0.10 $            77.00
                              Review and analyze draft e-mail to De Lage Landen counsel prepared by A.
                              Kohn re: discovery and completion of briefing issues and made revisions
  9/6/2022       JDD          thereto                                                                         0.20 $           154.00
                              Review and analyze proposed stipulation re: extension of dates and
  9/8/2022       JDD          deadlines in the Medline adversary                                              0.10 $            77.00
                              Several e-mails from A. Kohn and from and to P. Thomas (Medline
                              counsel) re: extension of time for Medline to supplement its interrogatory
  9/8/2022       JDD          responses                                                                       0.20 $           154.00
                              Several e-mails from Medline counsel and from/to A. Kohn re: changes to
  9/12/2022      JDD          stipulation extending scheduling order deadlines                                0.10 $            77.00
                              Several e-mails from M. Minuti and A. Kohn re: De Lage
  9/12/2022      JDD          Landen/Tenet/Santander settlement issues                                        0.20 $           154.00
                              E-mails from and to M. Minuti and A. Kohn re: settlement position in De
  9/13/2022      JDD          Lage Landen preference adversary                                                0.30 $           231.00
                              Telephone conference with counsel re: status of De Lage Landen preference
  9/13/2022      JDD          adversary                                                                       0.10 $            77.00
  9/21/2022      JDD          (HRE) Review and analyze and approve draft status report for filing             0.10 $            77.00
                              Several e-mails from and to mediator and counsel re: HRE Capital re-
  9/21/2022      JDD          scheduling of mediation                                                         0.20 $           154.00
                              Conference with M. Minuti re: production of documents to HRE Capital
  9/21/2022      JDD          and related confidentiality issues                                              0.10 $            77.00
                              Review of documents forwarded by M .Minuti re: determination of
  9/21/2022      JDD          production of documents to HRE Capital for mediation                            0.20 $           154.00
                              E-mails to and from J. DiNome re: re-scheduling of mediation in HRE
                              Capital adversary and issues in connection with production of documents to
  9/23/2022      JDD          HRE Capital                                                                     0.20 $           154.00
                              Review and analyze and made revisions and comments to fourth preference
  9/23/2022      JDD          adversary status report                                                         0.30 $           231.00
                              Several e-mails from and to mediator and HRE Capital's counsel re:
  9/29/2022      JDD          scheduling issues                                                               0.10 $            77.00
                              Review and analyze letters from Medline counsel re: amended discovery
  9/30/2022      JDD          responses and privilege log and brief review of revised responses               0.30 $           231.00
                              Review and analyze e-mail from A. Kohn summarizing and analyzing
  9/30/2022      JDD          Medline's revised discovery responses                                           0.10 $            77.00

              JDD Total                                                                                       3.10 $      2,387.00




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    Date      Timekeeper                                    Description                               Hours        Value
  9/15/2022      JRF        E-mail re: UCC filings; prepare for filing; circulate filed UCC-3's           0.50 $           147.50
               JRF Total                                                                                  0.50 $           147.50




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    Date      Timekeeper                                 Description                                  Hours         Value
  9/1/2022      MAM         Correspondence with M. DiSabatino re: stay relief motion                     0.20   $         77.00
  9/1/2022      MAM         Prepare certification of no objection for settlement motion                  0.50   $        192.50
  9/2/2022      MAM         Prepare certifications of no objection for stay relief settlements           0.80   $        308.00
  9/2/2022      MAM         Call with A. Isenberg and J. Hampton re: MOU execution                       0.70   $        269.50
  9/5/2022      MAM         Prepare MOU exhibits for execution                                           0.90   $        346.50
  9/6/2022      MAM         Prepare certification of no objection for stay relief stipulation            0.40   $        154.00
  9/6/2022      MAM         Prepare MOU exhibits for execution                                           4.70   $      1,809.50
  9/6/2022      MAM         Call with A. Isenberg and J. Hampton re: MOU execution                       0.50   $        192.50
  9/6/2022      MAM         Call with J. Hampton re: MOU execution                                       0.20   $         77.00
                            Continue preparing settlement agreement resolving workers' compensation
   9/8/2022     MAM         claim                                                                        0.80 $             308.00
  9/11/2022     MAM         Prepare removal extension motion                                             1.20 $             462.00

              MAM Total                                                                                  10.90 $       4,196.50




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    Date      Timekeeper                                    Description                                      Hours          Value
   9/7/2022     MBD          Correspondence to Omni re: service instructions for court orders                    0.10   $            50.00
   9/7/2022     MBD          Update global claims tracker to reflect orders entered                              0.30   $           150.00
   9/7/2022     MBD          Correspondence to G. Samms re: Brodnax pleadings                                    0.20   $           100.00
   9/8/2022     MBD          Correspondence to Omni re: service of court order                                   0.10   $            50.00
   9/8/2022     MBD          Update global claims tracker to reflect court order resolving claim                 0.10   $            50.00
  9/12/2022     MBD          Research re: Atlantic Specialty bond location                                       0.30   $           150.00
  9/12/2022     MBD          Conference with J. Dinome and E. O’Keefe re: Broomer matter                         0.30   $           150.00
  9/12/2022     MBD          Correspondence to G. Samms re: Obermayer preference matter                          0.20   $           100.00
  9/12/2022     MBD          Correspondence with J. Dinome re: letter from personal injury claimant              0.10   $            50.00
  9/12/2022     MBD          Correspondence to A. Gould re: status of pending personal injury claims             0.30   $           150.00
  9/12/2022     MBD          Revise July 2022 fee application                                                    0.30   $           150.00
  9/12/2022     MBD          Revise motion to extend removal deadline                                            0.50   $           250.00
  9/13/2022     MBD          Correspondence to Omni re: service of fee application                               0.10   $            50.00
                             Revise certification of counsel and draft order approving interim fee
  9/13/2022     MBD          applications                                                                        0.20   $           100.00
  9/13/2022     MBD          Correspondence to counsel to Fanning re: status of stay relief stipulation          0.10   $            50.00
  9/14/2022     MBD          Draft correspondence to J. Dinome re: FIT resolution                                0.20   $           100.00
  9/14/2022     MBD          Draft tenth omnibus claim objection                                                 1.70   $           850.00
  9/15/2022     MBD          Correspondence to Omni re: service of notice                                        0.10   $            50.00
  9/15/2022     MBD          Telephone call with Future IT Advisors re: claim inquiry                            0.10   $            50.00
  9/15/2022     MBD          Correspondence with J. Dinome re: Future IT inquiry                                 0.30   $           150.00
  9/15/2022     MBD          Review of draft tenth omnibus (non-substantive) objection                           0.90   $           450.00
  9/16/2022     MBD          Continue to revise draft omnibus claim objection                                    1.10   $           550.00
  9/16/2022     MBD          Revise eleventh omnibus claim objection                                             1.20   $           600.00
  9/16/2022     MBD          Revise motion to seal tenth and eleventh omnibus claim objections                   0.60   $           300.00
  9/16/2022     MBD          Finalize Eisner staffing report in preparation for filing                           0.30   $           150.00
  9/19/2022     MBD          Correspondence with J. Dinome and A. Wilen re: FIT claim resolution                 0.30   $           150.00
  9/19/2022     MBD          Review of July monthly operating reports                                            0.40   $           200.00
  9/20/2022     MBD          Correspondence to Omni re: service of agenda                                        0.20   $           100.00
                             Correspondence to Omni re: updates to matrix in connection with upcoming
  9/20/2022     MBD          omnibus claim objections                                                            0.30 $             150.00
                             Review of correspondence from A. Akinrinade re: comments to omnibus
  9/20/2022     MBD          objections                                                                          0.50 $             250.00
                             Correspondence to J. Dinome and J. Hampton re: next steps on Ramsey
  9/20/2022     MBD          matter                                                                              0.30   $           150.00
  9/20/2022     MBD          Telephone call with J. Dinome re: FIT claim issue                                   0.10   $            50.00
  9/20/2022     MBD          Finalize omnibus claim objections in preparation for filing                         0.50   $           250.00
  9/20/2022     MBD          Correspondence to professionals re: status of fee hearing                           0.10   $            50.00
  9/21/2022     MBD          Correspondence to Omni re: service of monthly operating reports                     0.10   $            50.00
                             Correspondence with Omni re: service instructions regarding omnibus
  9/21/2022     MBD          objections                                                                          0.30   $           150.00
  9/23/2022     MBD          Correspondence to claimant re: inquiry regarding omnibus objection                  0.10   $            50.00
  9/26/2022     MBD          Revise stipulation resolving workers' compensation program claim                    1.70   $           850.00
  9/26/2022     MBD          Correspondence with J. Hampton re: workers' compensation stipulation                0.20   $           100.00
  9/26/2022     MBD          Correspondence with A. Gould re: status of Jalloh claim                             0.20   $           100.00
  9/26/2022     MBD          Review of draft status report for preference matters                                0.50   $           250.00
  9/27/2022     MBD          Correspondence to G. Samms re: Obermayer tolling agreement                          0.10   $            50.00
                             Correspondence to S. Espinal re: preparation of certification of no objection
  9/29/2022     MBD          for Eisner staffing report                                                          0.10   $         50.00
  9/29/2022     MBD          Correspondence with B. Burns re: Obermayer tolling agreement                        0.10   $         50.00
  9/29/2022     MBD          Correspondence to Omni Team re: claim copies                                        0.10   $         50.00
  9/29/2022     MBD          Review of memorandum of understanding for impact on pending claims                  2.10   $      1,050.00
  9/30/2022     MBD          Correspondence to Omni re: service of court order                                   0.10   $         50.00
  9/30/2022     MBD          Review of correspondence from counsel to Medline re: discovery issues               0.20   $        100.00
              MBD Total                                                                                         18.30   $      9,150.00




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    Date      Timekeeper                                   Description                                      Hours       Value
                            Review correspondence from B. Harvey, counsel for McKesson, requesting
  9/6/2022      MGN         an extension on discovery/document production                                      0.20 $           128.00
  9/6/2022      MGN         Correspondence to and from M. Kohn regarding same                                  0.20 $           128.00
                            Multiple correspondence to and from B. Harvey, counsel for McKesson,
  9/8/2022      MGN         regarding requested extension of discovery deadlines.                              0.50 $           320.00
  9/8/2022      MGN         Review Scheduling Order.                                                           0.20 $           128.00
  9/8/2022      MGN         Conference with M. Kohn regarding same.                                            0.40 $           256.00
                            Follow-up correspondence to B. Harvey confirming two week extension of
  9/8/2022      MGN         discovery deadlines.                                                               0.20 $           128.00
                            Correspondence to and from M. Kohn regarding discovery responses
  9/13/2022     MGN         RECEIVED FROM Medtronic (.2)                                                       0.20 $           128.00
                            Correspondence to and from B. Harvey, counsel to McKesson, requesting a
  9/20/2022     MGN         time to review discovery responses.                                                0.20 $           128.00
                            Correspondence to D. Meloro, counsel to Medtronic, requesting a time to
  9/20/2022     MGN         review discovery responses.                                                        0.20 $           128.00
  9/20/2022     MGN         Correspondence to and from M. Kohn regarding same.                                 0.10 $            64.00
                            Correspondence to and from A. Akinrinade and M. DiSabatino regarding
  9/21/2022     MGN         misplaced settlement check.                                                        0.20 $           128.00
                            Correspondence to A. Brown, counsel for Shades of Green, advising of the
  9/21/2022     MGN         issue with misplaced check and requesting replacement.                             0.40 $           256.00
                            Correspondence to M. Kohn with background and updates on status of
  9/22/2022     MGN         discovery with Medtronic and McKesson.                                             0.30 $           192.00
                            Correspondence to and from M. Kohn regarding strategy in connection with
  9/23/2022     MGN         McKesson’s failure to respond to discovery requests.                               0.20 $           128.00
                            Telephone conference with B. Harvey, counsel for McKesson, and M. Kohn
                            discussing discovery issues in connection with McKesson responding to
  9/23/2022     MGN         Plaintiffs’ discovery requests.                                                    0.60 $           384.00
                            Correspondence to M. DiSabatino and J. Demmy enclosing multiple cases
  9/26/2022     MGN         filed against Medline in connection with their ongoing preference litigation.      0.20 $           128.00
                            Correspondence to D. Meloro, counsel to Medtronic, regarding proceeding
  9/30/2022     MGN         with discovery and raising lack of response with Judge Walrath as                  0.20 $        128.00
  9/30/2022     MGN         Review and docket discovery response deadline for Medtronic.                       0.20 $        128.00
              MGN Total                                                                                        4.70 $      3,008.00




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    Date      Timekeeper                                    Description                                   Hours         Value
  9/1/2022       MJD          Prepare for calls re: MOU closing logistics; review MOU                        1.20 $             870.00
  9/1/2022       MJD          Call with case team re: MOU closing documents                                  1.00 $             725.00
                              Call with MBNF counsel re: MOU, closing logistics and follow up calls re:
  9/1/2022       MJD          same                                                                           1.00   $           725.00
   9/1/2022      MJD          Draft memo re: MOU document recording issues                                   0.50   $           362.50
   9/2/2022      MJD          Correspondence with chat team re real MOU documents                            0.40   $           290.00
  9/10/2022      MJD          Emails and analysis re: UCC termination filings                                0.20   $           145.00
  9/13/2022      MJD          Emails re: closing and recording logistics                                     0.30   $           217.50
                              Review recordable documents list and conference with F. Poindexter re:
  9/13/2022      MJD          same, recording order                                                          0.40 $             290.00
                              Conference with J. Hampton, A. Isenberg, F. Poindexter, P. Desmond re:
  9/14/2022     MJD           documents and recording                                                        1.00   $        725.00
  9/14/2022     MJD           Conference with D. Shapiro re: POAs                                            0.20   $        145.00
  9/14/2022     MJD           Telephone to J. Conmy re: POAs; email team re: same                            0.30   $        217.50
  9/19/2022     MJD           Closing follow up emails                                                       0.10   $         72.50
  9/30/2022     MJD           Review A. Isenberg email re: REA issue; RE REA                                 1.20   $        870.00
              MJD Total                                                                                      7.80   $      5,655.00




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    Date     Timekeeper                                   Description                                    Hours         Value
  9/1/2022      MM          E-mails with S. Uhland re: Huron settlement agreement                           0.20   $           163.00
  9/1/2022      MM          Telephone call with J. Hampton re: Huron issues                                 0.20   $           163.00
  9/1/2022      MM          Further e-mails with S. Uhland re: Huron matter                                 0.20   $           163.00
  9/1/2022      MM          E-mails with A. Isenberg re: MOU closing logistics                              0.20   $           163.00
  9/1/2022      MM          Participate in closing logistics call                                           0.90   $           733.50
  9/2/2022      MM          E-mail from J. Hampton to broker re: interview                                  0.10   $            81.50
  9/2/2022      MM          E-mail from A. Isenberg re: PAHS case open issues                               0.10   $            81.50
  9/2/2022      MM          E-mails with S. Uhland re: Huron settlement                                     0.30   $           244.50
  9/2/2022      MM          Review of and revise Huron settlement agreement                                 0.20   $           163.00
  9/2/2022      MM          E-mails with Huron's counsel re: status of settlement                           0.20   $           163.00
  9/2/2022      MM          E-mail from Huron's counsel re: changes to settlement agreement                 0.10   $            81.50
  9/2/2022      MM          Review of Huron's proposed changes to settlement agreement                      0.20   $           163.00
  9/3/2022      MM          E-mails with J. Hampton and J. Dinome re: pension bond                          0.20   $           163.00
  9/3/2022      MM          E-mail from S. Uhland re: EIN for MBNF Equity Buyer                             0.10   $            81.50
  9/3/2022      MM          E-mails with J. Hampton re: lack of response to exhibit package                 0.20   $           163.00
                            Detailed review of A. Isenberg's e-mail of memorandum of understanding
  9/4/2022      MM          closing issues                                                                  0.20 $             163.00
                            Review of memorandum of understanding and e-mail A. Isenberg re:
  9/4/2022      MM          additional closing issues                                                       0.30   $           244.50
  9/4/2022      MM          E-mail from TJ Li re: new documents regarding property                          0.10   $            81.50
  9/4/2022      MM          E-mail from A. Isenberg re: MOU closing issues                                  0.20   $           163.00
  9/5/2022      MM          E-mails with J. Hampton and TJ Li re: pension bond                              0.20   $           163.00
  9/5/2022      MM          E-mail to A. Wilen and J. Dinome re: Huron settlement agreement                 0.20   $           163.00
  9/5/2022      MM          E-mail from A. Wilen re: Huron settlement                                       0.20   $           163.00
  9/5/2022      MM          Review of e-mails between D. Shapiro and J. Hampton re: 8832 forms              0.20   $           163.00
  9/6/2022      MM          E-mails with J. Hampton and broker re: listing of property for sale             0.20   $           163.00
  9/6/2022      MM          E-mails with J. Hampton and D. Shapiro to finalize 8832 form                    0.20   $           163.00
  9/6/2022      MM          Telephone call with J. Hampton re: closing issues                               0.20   $           163.00
  9/6/2022      MM          E-mails with K. Hayden re: settlement                                           0.20   $           163.00
  9/6/2022      MM          E-mail from J. Dinome re: RRG status                                            0.10   $            81.50
  9/6/2022      MM          E-mail from A. Isenberg re: RRG status                                          0.10   $            81.50
  9/6/2022      MM          E-mails with K. Hayden re: memorandum of understanding payment                  0.20   $           163.00
                            E-mails between J. Hampton and Omni re: memorandum of understanding
  9/6/2022      MM          closing                                                                         0.20 $             163.00
                            E-mails between A. Isenberg and S. Uhland re: documents for S. Freedman
  9/6/2022      MM          and B. Kramer signatures                                                        0.20   $           163.00
  9/6/2022      MM          E-mails from A. Isenberg re: memorandum of understanding signatures             0.20   $           163.00
  9/6/2022      MM          Draft memorandum of understand release notes                                    0.40   $           326.00
  9/6/2022      MM          Draft memorandum of understand implementation date certificates                 0.40   $           326.00
  9/6/2022      MM          E-mails with S. Attestatova re: pension payoff                                  0.20   $           163.00
  9/7/2022      MM          Call with F. Strober re: real estate issues                                     0.20   $           163.00
  9/7/2022      MM          E-mail from Committee counsel re: next steps in case                            0.10   $            81.50
  9/7/2022      MM          E-mail to Judge Carey re: summary of invoices/payments                          0.20   $           163.00
  9/7/2022      MM          Review of mediation fees                                                        0.40   $           326.00
  9/7/2022      MM          Review of and revise Huron settlement agreement                                 0.50   $           407.50
  9/7/2022      MM          E-mail to Huron's counsel re: updated settlement agreement                      0.20   $           163.00
                            Review of, revise and circulate notices of memorandum of implementation
  9/7/2022      MM          date and memorandum of understanding release notices                            0.50 $             407.50
                            Draft and circulate notices to dismiss MBNF and HSRE adversary
  9/7/2022      MM          proceedings                                                                     0.40 $             326.00
  9/7/2022      MM          Zoom call with Omni re: closing of memorandum of understanding                  0.60 $             489.00
                            Various e-mails with the mediation parties coordinating memorandum of
  9/7/2022      MM          understanding closing, payments and signatures                                  0.30   $           244.50
  9/7/2022      MM          E-mails with J. Hampton and A. Isenberg re: Ironstone steam issues              0.20   $           163.00
  9/7/2022      MM          Internal e-mails re: Ironstone steam issues                                     0.20   $           163.00
  9/8/2022      MM          E-mails with Mediator re: mediation expenses                                    0.20   $           163.00
  9/8/2022      MM          E-mails with J. Demmy and J. Dinome re: HRE discovery                           0.20   $           163.00
  9/8/2022      MM          E-mails between A. Isenberg and S. Uhland re: MOU closing logistics             0.20   $           163.00

  9/8/2022      MM          E-mails between A. Isenberg and S. Uhland re: finalizing closing documents      0.20 $             163.00
                            E-mails with A. Isenberg and J. Hampton re: closing memorandum of
  9/8/2022      MM          understanding                                                                   0.20 $             163.00
  9/9/2022      MM          E-mails from Judge Carey re: mediation invoices                                 0.20 $             163.00


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    Date      Timekeeper                                   Description                                     Hours         Value
  9/9/2022       MM          Call with K. Hayden re: De Lage Landen matter                                    0.20 $             163.00
                             E-mails among J. Hampton and MBNF's counsel re: closing memorandum
  9/9/2022       MM          of understanding                                                                 0.30 $             244.50
                             Review of MBNF's changes to certification of memorandum of
  9/10/2022      MM          understanding implementation date                                                0.20 $             163.00
                             E-mails among J. Hampton, A. Isenberg, HSRE and MBNF re: closing
  9/10/2022      MM          issues                                                                           0.30 $             244.50
  9/10/2022      MM          Review of draft stipulation to dismiss appeal                                    0.40 $             326.00
  9/10/2022      MM          E-mails with J. Hampton and A. Isenberg re: stipulation to dismiss appeal        0.20 $             163.00
                             E-mails with A. Isenberg re: changes / comments to certificate for
  9/10/2022      MM          memorandum of understanding implementation date                                  0.20 $             163.00
                             E-mail from MBNF's counsel re: changes to certification of memorandum
  9/10/2022      MM          of understanding implementation date                                             0.10   $            81.50
  9/12/2022      MM          Review of mediator invoice                                                       0.20   $           163.00
  9/12/2022      MM          E-mails with A. Wilen and J. DiNome re: mediator invoice                         0.20   $           163.00
  9/12/2022      MM          Calculate HSRE's share of mediator costs                                         0.50   $           407.50
  9/12/2022      MM          E-mails with A. Wilen and J. Dinome re: HSRE's share of mediator costs           0.20   $           163.00
  9/12/2022      MM          Telephone call with J. Hampton re: Huron settlement                              0.20   $           163.00
  9/12/2022      MM          E-mail with A. Kohn re: De Lage Landen case / demand                             0.30   $           244.50
  9/12/2022      MM          E-mail from C. Pellegrini re: Richards' claim assessment                         0.20   $           163.00
                             E-mails with Committee's counsel and Klehr Harrison re: certifications of
  9/12/2022      MM          no objection for interim fee applications                                        0.20 $             163.00
  9/12/2022      MM          E-mails with K. Hayden re: settlement wire                                       0.20 $             163.00
                             E-mails exchanging information and documents in anticipation of
  9/12/2022      MM          memorandum of understanding implementation date                                  0.20   $        163.00
  9/12/2022      MM          E-mails with MBNF re: notice of dismissal of adversary proceeding                0.20   $        163.00
  9/12/2022      MM          E-mails with HSRE re: notice of dismissal of adversary proceeding                0.20   $        163.00
  9/12/2022      MM          E-mail from K. Hayden re: closing issues                                         0.20   $        163.00
  9/12/2022      MM          Draft carrier form letter for notice of memorandum of understanding              1.50   $      1,222.50
                             Telephone call with J. Hampton re: memorandum of understanding closing
  9/12/2022      MM          issues                                                                           0.20   $           163.00
  9/12/2022      MM          Review of files re: Tenet's cost report issues                                   0.30   $           244.50
  9/12/2022      MM          Call with MBNF and Mediator re: closing                                          0.60   $           489.00
  9/12/2022      MM          E-mails with Omni and K. Hayden re: confirming Tenet wire                        0.20   $           163.00
  9/12/2022      MM          Review and comment upon proposed letter to Travelers                             0.30   $           244.50
  9/12/2022      MM          Telephone call with J. Dinome re: MBNF's Travelers letter                        0.20   $           163.00

  9/12/2022      MM          E-mails with MBNF's counsel re: comments to stipulation to dismiss appeal        0.20 $             163.00
  9/12/2022      MM          E-mail from J. Dinome re: steam issue                                            0.20 $             163.00
                             E-mails with the mediation parties re: Omni instruction letter and
  9/12/2022      MM          memorandum of understanding implementation date                                  0.20 $             163.00
  9/12/2022      MM          E-mails with MBNF's counsel and HSRE's counsel re: closing issues                0.20 $             163.00
  9/13/2022      MM          E-mails with R. Warren and M. DiSabatino re: omnibus hearing dates               0.20 $             163.00
                             E-mail with R. Warren re: certification of counsel regarding omnibus
  9/13/2022      MM          hearing dates                                                                    0.10 $              81.50
                             Review and approve certification of counsel regarding omnibus hearing
  9/13/2022      MM          dates and propose order                                                          0.10   $            81.50
  9/13/2022      MM          E-mails with J. Dinome re: Young Conaway's invoice                               0.20   $           163.00
  9/13/2022      MM          E-mails with A. Kohn re: De Lage Landen adversary proceeding                     0.20   $           163.00
  9/13/2022      MM          E-mails with C. Pellegrini re: Richards' claim assessment                        0.20   $           163.00
                             Draft detailed e-mail re: Tenet's alleged ASA claim and De Lage Landen
  9/13/2022      MM          preference action                                                                0.70   $           570.50
  9/13/2022      MM          Review and comment upon Richards' claim assessment                               0.70   $           570.50
  9/13/2022      MM          E-mails with J. Dinome and C. Pellegrini re: Richards' claim objection           0.20   $           163.00
  9/13/2022      MM          Review of and revise HRE mediation statement                                     0.70   $           570.50
                             E-mail and telephone call with R. Warren re: certification of memorandum
  9/13/2022      MM          of understanding implementation date                                             0.20 $             163.00
                             E-mail and telephone call with R. Warren re: confirming no notice of appeal
  9/13/2022      MM          received                                                                         0.20   $           163.00
  9/13/2022      MM          Review of docket to confirm no notice of appeal docketed                         0.20   $           163.00
  9/13/2022      MM          Review of REA for arbitration demand                                             0.50   $           407.50
  9/13/2022      MM          E-mail to J. Dinome re: steam issue / proposed strategy                          0.20   $           163.00
  9/13/2022      MM          E-mails with D. Shapiro re: completing tax forms                                 0.20   $           163.00
                             Further e-mails with J. Dinome re: contacting Ironstone's counsel regarding
  9/13/2022      MM          REA dispute                                                                      0.20 $             163.00

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    Date      Timekeeper                                    Description                                   Hours         Value
                             Participate in call to confirm memorandum of understanding
  9/13/2022      MM          implementation date                                                             0.90 $             733.50
                             Further e-mail and telephone call with R. Warren re: finalizing and filing
  9/13/2022      MM          certification of memorandum of understanding implementation date                0.20   $           163.00
  9/13/2022      MM          Review of updated direction letter                                              0.10   $            81.50
  9/13/2022      MM          Draft and circulate e-mail to Ironstone re: steam issue                         0.30   $           244.50
  9/13/2022      MM          Review of various e-mails among the mediation parties to confirm closing        0.30   $           244.50
  9/14/2022      MM          E-mails with A. Wilen, J. Dinome and J. Hampton re: property insurance          0.20   $           163.00
  9/14/2022      MM          E-mails with J. Dinome re: property issues                                      0.20   $           163.00
                             E-mails with J. Dinome and C. Pellegrini re: finalize Richards' claim
  9/14/2022      MM          assessment                                                                      0.20 $             163.00
                             Further e-mails with J. Dinome and C. Pellegrini re: finalizing Richards'
  9/14/2022      MM          claim assessment                                                                0.20   $           163.00
  9/14/2022      MM          Telephone call with J. Hampton re: closing issues                               0.20   $           163.00
  9/14/2022      MM          E-mails with A. Wilen re: closing of settlement                                 0.20   $           163.00
  9/14/2022      MM          E-mail to J. Hampton and A. Isenberg re: notice to insurance companies          0.20   $           163.00
                             Review and comment upon changes to memorandum of understanding
  9/14/2022      MM          release notice                                                                  0.20 $             163.00
  9/14/2022      MM          E-mails with J. Hampton and A. Isenberg re: dismissal of appeal                 0.20 $             163.00
                             E-mails with J. Hampton and A. Isenberg re: memorandum of
  9/14/2022      MM          understanding release notice                                                    0.20 $             163.00
                             E-mail to memorandum of understanding parties circulating memorandum
  9/14/2022      MM          of understanding release notice                                                 0.20 $             163.00
  9/14/2022      MM          E-mails with Ironstone's counsel re: extend mediation period                    0.20 $             163.00
                             E-mails with J. Hampton and A. Isenberg re: memorandum of
  9/14/2022      MM          understanding notice to insurers                                                0.20 $             163.00
                             E-mail from MBNF re: change to memorandum of understanding release
  9/14/2022      MM          notice                                                                          0.10 $              81.50
                             Further e-mails with J. Hampton and A. Isenberg re: memorandum of
  9/14/2022      MM          understanding release notice                                                    0.30   $           244.50
  9/14/2022      MM          E-mails between J. Hampton and S. Uhland re: insurance cooperation              0.20   $           163.00
  9/15/2022      MM          E-mail with J. Dinome re: property insurance issues                             0.20   $           163.00
  9/15/2022      MM          E-mails with M. DiSabatino re: possible settlement of Future IT claim           0.20   $           163.00
  9/15/2022      MM          E-mail from Huron's counsel re: comments to settlement agreement                0.20   $           163.00
  9/15/2022      MM          E-mail to J. Dinome re: memorandum of understanding notice to insurers          0.20   $           163.00
                             Review of memorandum of understanding for issues upon filing of
  9/15/2022      MM          memorandum of release notice                                                    0.30 $             244.50
                             E-mails to J. Hampton and A. Isenberg re: memorandum of understanding
  9/15/2022      MM          release notice                                                                  0.20 $             163.00
                             Telephone call with J. Hampton re: memorandum of understanding release
  9/15/2022      MM          notice                                                                          0.20 $             163.00
                             Zoom call with memorandum of understanding parties re: memorandum of
  9/15/2022      MM          understanding release notice                                                    0.30 $             244.50
                             E-mails with memorandum of understanding parties re: memorandum of
  9/15/2022      MM          understanding release notice                                                    0.20 $             163.00
                             E-mails with memorandum of understanding parties to finalize
  9/15/2022      MM          memorandum of understanding release notice                                      0.20 $             163.00
                             Review of various e-mails with the memorandum of understanding parties
  9/15/2022      MM          re: exchanging documents and information to close transaction                   0.30 $             244.50

  9/15/2022      MM          E-mails with Capital One's counsel re: dismissal of adversary proceeding        0.20 $             163.00
                             Prepare for call with memorandum of understanding parties re: release
  9/15/2022      MM          notice                                                                          0.20   $           163.00
  9/16/2022      MM          Call with S. Mitnick re: update on status                                       0.60   $           489.00
  9/16/2022      MM          E-mail with Ironstone re: request to inspect building                           0.20   $           163.00
  9/16/2022      MM          Telephone call with J. Dinome re: Ironstone issues                              0.20   $           163.00
  9/16/2022      MM          Draft e-mail to Ironstone re: building inspection                               0.20   $           163.00
                             E-mails with J. Hampton and J. Dinome re: responding to Ironstone's
  9/16/2022      MM          request for engineer to have access to building                                 0.20   $           163.00
  9/16/2022      MM          E-mails with J. Hampton re: mediation costs to HSRE                             0.20   $           163.00
  9/16/2022      MM          E-mails with HSRE's counsel re: finalizing notice of dismissal                  0.20   $           163.00
  9/16/2022      MM          E-mails with MBNF's counsel re: notice of dismissal                             0.20   $           163.00
                             Telephone call with potential purchaser of real estate re: memorandum of
  9/16/2022      MM          understanding                                                                   0.20 $             163.00



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    Date      Timekeeper                                   Description                                   Hours         Value
                             E-mails with R. Warren re: finalizing and filing notice of dismissal of
  9/16/2022      MM          HSRE complaint                                                                 0.20   $           163.00
  9/16/2022      MM          Finalize and coordinating filing of notice of dismissal of MBNF complaint      0.20   $           163.00
  9/16/2022      MM          Review and comment on e-mails re: closing index                                0.30   $           244.50
  9/16/2022      MM          E-mail to MBNF's counsel re: filed notice of dismissal                         0.10   $            81.50
  9/16/2022      MM          E-mail to HSRE's counsel re: filed notice of dismissal                         0.10   $            81.50
  9/17/2022      MM          Review of stipulation to dismiss appeal                                        0.20   $           163.00
  9/17/2022      MM          E-mails with TJ Li re: stipulation to dismiss appeal                           0.20   $           163.00
  9/18/2022      MM          E-mails from HRE's counsel and J. Demmy re: mediation                          0.20   $           163.00
  9/19/2022      MM          E-mail from K. Hayden re: broker interviews                                    0.10   $            81.50
                             E-mails with A. Isenberg re: closing binders for memorandum of
  9/19/2022      MM          understanding                                                                  0.20   $           163.00
  9/19/2022      MM          Call with A. Isenberg re: closing of memorandum of understanding issues        0.20   $           163.00
  9/19/2022      MM          Further e-mails with A. Isenberg re: closing binders                           0.20   $           163.00
  9/19/2022      MM          E-mails with R. Warren re: agenda for 9/22 hearing                             0.20   $           163.00
  9/19/2022      MM          Review of draft agenda for 9/22 hearing                                        0.20   $           163.00
  9/19/2022      MM          E-mails with Huron's counsel re: 9/22 pre-trial conference                     0.20   $           163.00
  9/19/2022      MM          E-mails with J. Demmy re: HRE mediation                                        0.20   $           163.00
  9/19/2022      MM          Review of HRE documents for confidentiality issues                             0.30   $           244.50
                             E-mail to J. Hampton and A. Isenberg re: confidentiality issues for HRE
  9/19/2022      MM          documents                                                                      0.20 $             163.00
                             Further e-mails with J. Hampton and A. Isenberg re: HRE confidential
  9/19/2022      MM          documents                                                                      0.20   $           163.00
  9/19/2022      MM          E-mail from K. Hayden re: De Lage Landen claims                                0.20   $           163.00
  9/19/2022      MM          E-mails with J. Hampton re: De Lage Landen / Tenet issues                      0.20   $           163.00
  9/19/2022      MM          E-mails with M. DiSabatino re: resolution of FIT claim                         0.20   $           163.00
  9/19/2022      MM          E-mail to S. Uhland re: Huron settlement                                       0.20   $           163.00
  9/19/2022      MM          E-mails with A. Kohn re: De Lage Landen litigation                             0.30   $           244.50
  9/19/2022      MM          Review of Tenet's materials in preparation for discussion with J. Hampton      0.30   $           244.50
                             Further e-mails with Huron's counsel re: 9/22 hearing and pre-trial
  9/19/2022      MM          conference                                                                     0.20 $             163.00
  9/19/2022      MM          E-mail to T. Judge re: memorandum of understanding release notice              0.20 $             163.00
                             E-mails with MBNF's counsel re: stipulation to dismiss District Court
  9/19/2022      MM          appeal                                                                         0.20 $             163.00
                             Zoom call with A. Wilen and J. Dinome re: open issues, memorandum of
  9/20/2022      MM          understanding                                                                  0.70   $           570.50
  9/20/2022      MM          E-mails with J. Dinome re: steam issues                                        0.20   $           163.00
  9/20/2022      MM          E-mails with J. Dinome re: steam issues                                        0.30   $           244.50
  9/20/2022      MM          E-mail from J. DiNome re: further building inspection                          0.20   $           163.00
  9/20/2022      MM          Review and approve revised agenda for 9/22 hearing                             0.20   $           163.00
  9/20/2022      MM          E-mails with R. Warren re: cancellation of 9/22 hearing                        0.20   $           163.00
  9/20/2022      MM          Review and approve notice of amended agenda for hearing on 9/22 hearing        0.20   $           163.00
  9/20/2022      MM          E-mails with S. Attestatova re: White & Williams fees                          0.20   $           163.00
  9/20/2022      MM          Review of and revise Huron settlement agreement                                0.20   $           163.00
                             E-mails with Huron's counsel and R. Warren re: continuance of pretrial
  9/20/2022      MM          conference                                                                     0.20   $           163.00
  9/20/2022      MM          E-mails with J. Demmy re: HRE documents                                        0.30   $           244.50
  9/20/2022      MM          E-mails with J. Dinome re: FIT claims / Huron settlement                       0.30   $           244.50
  9/20/2022      MM          Call with M. DiSabatino and J. Hampton re: FIT claims / Huron settlement       0.40   $           326.00
                             Telephone call and e-mails with J. Hampton re: De Lage Landen claim /
  9/20/2022      MM          Ironstone issues                                                               0.30 $             244.50
                             Review of memorandum of understanding in relation to draft Huron
  9/20/2022      MM          settlement agreement                                                           0.30 $             244.50
                             E-mails with MBNF re: letter to insurance carriers regarding memorandum
  9/20/2022      MM          of understanding                                                               0.20 $             163.00
                             Review of memorandum of understanding re: need for withdrawal of certain
  9/20/2022      MM          bankruptcy pleadings                                                           0.20 $             163.00
                             E-mails with MBNF's counsel and J. Hampton re: dismissal of District
  9/20/2022      MM          Court appeal                                                                   0.20   $           163.00
  9/20/2022      MM          E-mails with M. DiSabatino re: fee application hearing on 9/22                 0.20   $           163.00
  9/21/2022      MM          E-mails with A. Perno re: building inspection                                  0.20   $           163.00
  9/21/2022      MM          Draft response to S. Attestatova re: White & Williams invoice                  0.20   $           163.00
  9/21/2022      MM          E-mail and conference with J. Demmy re: HRE document production                0.20   $           163.00
  9/21/2022      MM          E-mail to J. Demmy re: HRE documents                                           0.20   $           163.00

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    Date      Timekeeper                                    Description                                       Hours         Value
  9/21/2022      MM          E-mail to A. Wilen and J. Dinome re: offer to Tenet                                 0.20 $             163.00
                             Draft e-mail to Tenet re: settlement of ASA claim and De Lage Landen
  9/21/2022      MM          preference claim                                                                    0.40   $           326.00
  9/21/2022      MM          E-mails with J. Demmy re: moving HRE mediation                                      0.20   $           163.00
  9/21/2022      MM          E-mails with S. Uhland re: call to discuss Huron settlement                         0.20   $           163.00
  9/21/2022      MM          E-mails with A. Gallinaro re: dismissal of state court litigation                   0.20   $           163.00
  9/22/2022      MM          Call with Phoenix Group re: interest in property                                    0.20   $           163.00
  9/22/2022      MM          Follow up e-mails with Phoenix Group re: interest in property                       0.20   $           163.00
  9/22/2022      MM          Telephone call with S. Uhland re: Huron settlement                                  0.20   $           163.00
  9/22/2022      MM          E-mails with J. Demmy re: HRE mediation and document production                     0.20   $           163.00

  9/22/2022      MM          Detailed e-mail to A. Wilen re: De Lage Landen / Tenet settlement proposal          0.40   $           326.00
  9/22/2022      MM          E-mail from A. Wilen re: De Lage Landen / Tenet settlement proposal                 0.10   $            81.50
  9/22/2022      MM          E-mails with A. Gallinaro re: dismissal of state court litigation                   0.20   $           163.00
  9/22/2022      MM          Call with A. Gallinaro and J. Guernsey re: dismissal of state court litigation      0.20   $           163.00
                             E-mails with A. Gallinaro and J. Guernsey re: memorandum of
  9/22/2022      MM          understanding and ASA                                                               0.30 $             244.50
                             Review of e-mails between J. Demmy and J. DiNome re: HRE Capital
  9/23/2022      MM          mediation                                                                           0.20 $             163.00
  9/23/2022      MM          Draft e-mail re: turnover of documents to HRE                                       0.30 $             244.50
  9/23/2022      MM          E-mails with M. DiSabatino re: personal injury claims                               0.20 $             163.00
                             E-mail with J. Hampton re: e-mail to Tenet regarding De Lage Landen claim
  9/23/2022      MM          issues                                                                              0.20   $           163.00
  9/23/2022      MM          E-mails with R. Smith re: status of bankruptcy case                                 0.20   $           163.00
  9/23/2022      MM          E-mails with TJ Li re: notice to insurance companies                                0.20   $           163.00
  9/23/2022      MM          E-mails with T. Judge re: Travelers settlement                                      0.20   $           163.00
  9/23/2022      MM          Review of MBNF markup of letter to carriers                                         0.20   $           163.00
  9/23/2022      MM          E-mails with A. Wilen and J. Dinome re: Travelers' settlement payment               0.20   $           163.00
  9/23/2022      MM          Telephone call with J. Dinome re: insurance letter / state court litigation         0.20   $           163.00
                             Review and comment upon A. Isenberg's list of open memorandum of
  9/23/2022      MM          understanding issues                                                                0.30   $           244.50
  9/25/2022      MM          E-mails with J. Hampton re: Tenet / De Lage Landen settlement                       0.20   $           163.00
  9/26/2022      MM          E-mail from J. Dinome re: agenda for building inspection                            0.20   $           163.00
  9/26/2022      MM          E-mails with potential real estate purchaser                                        0.20   $           163.00
  9/26/2022      MM          E-mails with S. Attestatova re: White & Williams invoice for Huron matter           0.20   $           163.00
  9/26/2022      MM          Review of White & Williams invoice for Huron matter                                 0.20   $           163.00
                             E-mail to J. Hampton, J. Dinome and A. Wilen re: White & Williams
  9/26/2022      MM          invoice for Huron matter                                                            0.20   $           163.00
  9/26/2022      MM          Review of ASA re: turnover of flow of funds memo to HRE                             0.20   $           163.00
  9/26/2022      MM          Draft e-mail re: turnover of flow of funds memo to HRE                              0.20   $           163.00
  9/26/2022      MM          E-mails with J. Dinome re: Travelers' payment information                           0.20   $           163.00
  9/27/2022      MM          E-mail from Committee counsel re: call to discuss next steps                        0.10   $            81.50
  9/27/2022      MM          E-mails with J. Dinome re: W9 for Travelers                                         0.20   $           163.00
  9/28/2022      MM          E-mails from J. Hampton re: broker interviews                                       0.20   $           163.00
                             Telephone call with J. Hampton re: responding to Tenet on De Lage Landen
  9/28/2022      MM          claim and insurance letter                                                          0.20 $             163.00
                             E-mails between J. Hampton to Committee counsel re: claim issues / case
  9/28/2022      MM          planning                                                                            0.20   $           163.00
  9/28/2022      MM          E-mail from S. Uhland re: insurance letter                                          0.20   $           163.00
  9/28/2022      MM          E-mails with T. Judge re: W9/wire                                                   0.20   $           163.00
  9/28/2022      MM          E-mails with J. Dinome re: Travelers payment                                        0.20   $           163.00
  9/28/2022      MM          E-mails with A. Gallinaro re: dismissal of Superior Court case                      0.20   $           163.00
  9/28/2022      MM          E-mails with J. Hampton re: dismissal of Superior Court case                        0.20   $           163.00
                             E-mail to S. Uhland re: withdrawal of chapter 11 trustee motion, letter to
  9/28/2022      MM          insurers, etc.                                                                      0.20   $        163.00
  9/29/2022      MM          Participate in building tour and meeting with MCT re: building issues               3.00   $      2,445.00
  9/29/2022      MM          Lunch meeting with J. Dinome and A. Wilen re: building issues                       1.00   $        815.00
  9/29/2022      MM          E-mails between J. Hampton and M. Doyle re: REA issues                              0.20   $        163.00

  9/29/2022      MM          Telephone call with J. Hampton re: reimbursement of mediation fees / costs          0.20 $             163.00
                             E-mail from J. Hampton re: wire instructions for memorandum of
  9/29/2022      MM          understanding CONA payment                                                          0.10 $              81.50
                             E-mails with J. Hampton and A. Isenberg re: draft request for mediation
  9/29/2022      MM          reimbursement                                                                       0.20 $             163.00

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    Date      Timekeeper                                   Description                                  Hours          Value
  9/29/2022      MM          E-mails with J. Dinome to confirm payment of mediation invoice                 0.20 $             163.00
                             Detailed e-mail from M. DiSabatino re: withdrawal of claims based upon
  9/29/2022    MM            memorandum of understanding                                                    0.20   $        163.00
  9/29/2022    MM            Non-billable travel to HUH for meeting with NKF                                2.30   $      1,874.50
  9/30/2022    MM            E-mails from J. Hampton to proposed brokers re: real estate interviews         0.20   $        163.00
  9/30/2022    MM            E-mail from A. Isenberg re: pictures of HUH                                    0.20   $        163.00
  9/30/2022    MM            E-mail from A. Perno re: use of property                                       0.10   $         81.50
  9/30/2022    MM            Finalize and send e-mail to S. Brown re: mediation reimbursement               0.30   $        244.50
  9/30/2022    MM            Call with J. Hampton re: mediation reimbursement                               0.10   $         81.50
  9/30/2022    MM            E-mail with J. Hampton re: call with Tenet regarding De Lage Landen            0.20   $        163.00
  9/30/2022    MM            E-mails with K. Hayden re: call to discuss De Lage Landen                      0.20   $        163.00
  9/30/2022    MM            E-mails with A. Kohn re: status of De Lage Landen discussions with Tenet       0.20   $        163.00
  9/30/2022    MM            Review of De Lage Landen materials to prepare for call with Tenet              0.60   $        489.00
  9/30/2022    MM            Telephone call with A. Kohn re: possible De Lage Landen defenses               0.20   $        163.00
  9/30/2022    MM            E-mail to S. Uhland re: Huron                                                  0.10   $         81.50
  9/30/2022    MM            Call with Tenet's counsel re: De Lage Landen claims                            0.20   $        163.00
  9/30/2022    MM            E-mail from J. Demmy re: HRE production                                        0.20   $        163.00
  9/30/2022    MM            E-mails with J. Dinome re: notice to insurance carriers                        0.20   $        163.00
  9/30/2022    MM            E-mail to S. Uhland re: dismissal of chapter 11 trustee motion                 0.10   $         81.50
  9/30/2022    MM            E-mail from TJ Li re: dismissal of chapter 11 trustee motion                   0.10   $         81.50
              MM Total                                                                                     68.50   $     55,827.50




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    Date      Timekeeper                                 Description                                   Hours       Value

  9/20/2022    MMH          Emails with A. Isenberg and W. Warren re update on DHS status conference      0.20 $           119.00
  9/28/2022    MMH          Conference with A. Isenberg re update on DHS proceeding                       0.20 $           119.00
              MMH Total                                                                                   0.40 $           238.00




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    Date      Timekeeper                                   Description                                    Hours       Value
                              Draft correspondence to case team re: order of recording question on e-
  9/13/2022      PAD          recordings                                                                     0.40 $           130.00
                              Call with M. Doyle and F. Poindexter re: recordation of Mortgage releases
  9/14/2022      PAD          and UCC3s                                                                      0.40 $           130.00
                              Assemble documents and submit for e-recording, prepare cover letters to
  9/15/2022      PAD          Searchtec                                                                      1.80 $           585.00
  9/16/2022      PAD          Re-send UCC3s to Searchtec, call with Searchtec                                0.40 $           130.00
  9/19/2022      PAD          Submit UCC3s for e-recording, email update to M. Doyle                         0.40 $           130.00
                              Assemble and circulate e-recorded documents to M. Doyle and F.
                              Poindexter and prepare cover letters and submit Termination Agreement and
  9/27/2022     PAD           Limited Powers of Attorney to Searchtec for e-recording                        1.10 $        357.50
              PAD Total                                                                                      4.50 $      1,462.50




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    Date      Timekeeper                                     Description                                      Hours         Value
                             Review of and revise certification of no objection for stipulation with
  9/6/2022      REW          Bobby Johnson                                                                       0.10 $              25.50
                             .pdf and electronic docketing of certification of no objection for stipulation
  9/6/2022      REW          with Bobby Johnson                                                                  0.20 $              51.00
                             Prepare final order approving stipulation with Bobby Johnson and upload to
  9/6/2022      REW          the Court                                                                           0.10 $              25.50
                             Review of and revise certification of no objection for stipulation with
  9/6/2022      REW          Rivera and Nguyen                                                                   0.10 $              25.50
                             .pdf and electronic docketing of certification of no objection for stipulation
  9/6/2022      REW          with Rivera and Nguyen                                                              0.20 $              51.00
                             Prepare final order approving stipulation with Rivera and Nguyen and
  9/6/2022      REW          upload to the Court                                                                 0.10 $              25.50
                             Review of and revise certification of no objection for 9019 motion with
  9/6/2022      REW          Wayne Moving and Storage                                                            0.10 $              25.50
                             .pdf and electronic docketing of certification of no objection for 9019
  9/6/2022      REW          motion with Wayne Moving and Storage                                                0.20 $              51.00
                             Prepare final order for 9019 motion with Wayne Moving and Storage and
  9/6/2022      REW          upload to the Court                                                                 0.10 $              25.50
                             Review of and revise certification of no objection to stipulation for relief
  9/7/2022      REW          from stay with L.J.                                                                 0.10 $              25.50
                             .pdf and electronic docketing of certification of no objection to stipulation
  9/7/2022      REW          for relief from stay with L.J.                                                      0.20 $              51.00
                             Prepare final order approving stipulation for relief from stay with L.J. and
  9/7/2022      REW          upload to the Court                                                                 0.10 $              25.50
                             Prepare excel spreadsheet to be attached to Saul Ewing's thirty-seventh
  9/8/2022      REW          monthly fee application                                                             2.00 $             510.00
                             Review of all invoices and draft summaries for each category for Saul
  9/9/2022      REW          Ewing's thirty-seventh monthly fee application                                      2.30 $             586.50

   9/9/2022     REW          Draft Saul Ewing's thirty-seventh monthly fee application                           2.30 $             586.50
  9/12/2022     REW          Correspondence with Chambers re: omnibus hearing dates                              0.20 $              51.00
                             (Medline) Review of and revise third stipulation extending pre-trial dates
  9/12/2022     REW          and deadlines                                                                       0.10 $              25.50
                             (Medline) .pdf and electronic docketing of third stipulation extending pre-
  9/12/2022     REW          trial dates and deadlines                                                           0.10 $              25.50
                             Review of fee applications, certification and begin drafting index of interim
  9/12/2022     REW          fee applications and certifications for 9/22 hearing                                2.20 $             561.00
                             Review of fee applications and certification and begin drafting chart of all
  9/12/2022     REW          professionals' fees for inclusion in interim fee binders for hearing scheduled      2.80 $             714.00
                             Draft certification of counsel regarding omnibus hearing dates and proposed
  9/13/2022     REW          order                                                                               0.20 $              51.00
                             .pdf and electronic docketing of certification of counsel regarding omnibus
  9/13/2022     REW          hearing dates                                                                       0.20 $              51.00

  9/13/2022     REW          Prepare final order regarding omnibus hearing dates and upload to the Court         0.10 $              25.50
  9/13/2022     REW          Revise and finalize Saul Ewing's thirty-seventh monthly fee application             0.30 $              76.50
                             .pdf and electronic docketing of Saul Ewing's thirty-seventh monthly fee
  9/13/2022     REW          application                                                                         0.30 $              76.50
  9/13/2022     REW          Draft omnibus fee order and fee chart for hearing on 9/22                           1.10 $             280.50
                             Draft certification of counsel submitting omnibus fee order for hearing on
  9/13/2022     REW          9/22                                                                                0.30 $              76.50
                             Review of and revise certification of counsel regarding MOU
  9/13/2022     REW          implementation date                                                                 0.10 $              25.50
                             Correspondence and telephone call with M. Minuti re: certification of
  9/13/2022     REW          counsel regarding MOU implementation date                                           0.20 $              51.00
                             .pdf and electronic docketing of certification of counsel regarding MOU
  9/13/2022     REW          implementation date                                                                 0.20 $              51.00
                             Prepare binders of all fee applications and related documents for hearing on
  9/14/2022     REW          9/22                                                                                2.90 $             739.50
                             Update and finalize index of all fee applications, fee chart and fee binder
  9/14/2022     REW          and forward binders to Chambers                                                     0.80 $             204.00
  9/14/2022     REW          Finalize certification of counsel submitting omnibus fee order                      0.20 $              51.00
                             .pdf and electronic docketing of certification of counsel submitting omnibus
  9/14/2022     REW          fee order                                                                           0.20   $            51.00
  9/14/2022     REW          Prepare final omnibus fee order and upload to the Court                             0.10   $            25.50
  9/14/2022     REW          Review of and revise tenth removal motion                                           0.20   $            51.00
  9/14/2022     REW          .pdf and electronic docketing of tenth removal motion                               0.20   $            51.00

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    Date      Timekeeper                                    Description                                     Hours         Value
                             Prepare electronic version of fee binders for 8/22 hearing and forward to
  9/15/2022     REW          Chambers                                                                          1.80   $           459.00
  9/15/2022     REW          Review of and revise MOU release notice                                           0.10   $            25.50
  9/15/2022     REW          .pdf and electronic docketing of MOU release notice                               0.20   $            51.00
  9/16/2022     REW          Draft notice of agenda for hearing on 9/22                                        0.70   $           178.50
  9/16/2022     REW          (HSRE) Review of and revise notice of dismissal of adversary proceeding           0.10   $            25.50
                             (HSRE) .pdf and electronic docketing of notice of dismissal of adversary
  9/16/2022     REW          proceeding                                                                        0.20   $            51.00
  9/19/2022     REW          Draft exhibit of fee application for notice of agenda for hearing on 9/22         0.90   $           229.50
  9/19/2022     REW          Review of and revise Eisner's August monthly staffing report                      0.10   $            25.50
  9/19/2022     REW          Assemble exhibits for Eisner's August monthly staffing report                     0.20   $            51.00
  9/19/2022     REW          .pdf and electronic docketing of Eisner's August monthly staffing report          0.20   $            51.00
  9/20/2022     REW          Revise and finalize notice of agenda for hearing on 9/22                          0.30   $            76.50
                             .pdf and electronic docketing of notice of agenda for hearing on 9/22 (filed
  9/20/2022     REW          in main and adversary case)                                                       0.30 $              76.50
                             Prepare notice of agenda for hearing on 9/22 and exhibit with hyperlinks
  9/20/2022     REW          and forward to Chambers                                                           0.60 $             153.00
  9/20/2022     REW          Correspondence with Chambers re: 9/22 hearing and interim fees                    0.30 $              76.50
  9/20/2022     REW          Draft notice of amended agenda for hearing on 9/22                                0.20 $              51.00
                             .pdf and electronic docketing of notice of amended agenda for hearing on
  9/20/2022     REW          9/22 (filed in main and adversary case)                                           0.30 $              76.50
  9/20/2022     REW          (HRE) Draft adversary status report                                               0.30 $              76.50
  9/21/2022     REW          (HRE) .pdf and electronic docketing of adversary status report                    0.20 $              51.00
                             Review of and revise eleventh omnibus objection to claim to be filed under
  9/21/2022     REW          seal                                                                              0.40 $             102.00

  9/21/2022     REW          .pdf and electronic docketing under seal of tenth omnibus objection to claim      0.20 $              51.00
  9/21/2022     REW          Prepare redacted version of tenth omnibus objection to claim                      0.30 $              76.50
                             .pdf and electronic docketing of redacted version of tenth omnibus objection
  9/21/2022     REW          to claim                                                                          0.20 $              51.00
                             .pdf and electronic docketing of redacted version of eleventh omnibus
  9/21/2022     REW          objection to claim                                                                0.20 $              51.00
                             .pdf and electronic docketing under seal of eleventh omnibus objection to
  9/21/2022     REW          claim                                                                             0.20 $              51.00
  9/21/2022     REW          Prepare redacted version of eleventh omnibus objection to claim                   0.30 $              76.50
                             .pdf and electronic docketing of redacted version of eleventh omnibus
  9/21/2022     REW          objection to claim                                                                0.20 $              51.00

  9/21/2022     REW          Review of and revise tenth omnibus objection to claim to be filed under seal      0.60 $             153.00
                             Prepare individual redacted versions of tenth omnibus objection to claim for
  9/21/2022     REW          patients name in objection                                                        0.80 $             204.00
                             Prepare individual redacted versions of eleventh omnibus objection to claim
  9/21/2022     REW          for patients name in objection                                                    0.60 $             153.00
                             Review of and revise motion to file tenth and eleventh omnibus claim
  9/21/2022     REW          objections under seal                                                             0.30 $              76.50
                             .pdf and electronic docketing of motion to file tenth and eleventh omnibus
  9/21/2022     REW          claim objections under seal                                                       0.20 $              51.00
  9/21/2022     REW          Revise and finalize July monthly operating report (Center City Healthcare)        0.20 $              51.00
                             .pdf and electronic docketing of July monthly operating report (Center City
  9/21/2022     REW          Healthcare)                                                                       0.20 $              51.00
                             Revise and finalize July monthly operating report (Philadelphia Academic
  9/21/2022     REW          Health System)                                                                    0.10 $              25.50
                             .pdf and electronic docketing of July monthly operating report (Philadelphia
  9/21/2022     REW          Academic Health System)                                                           0.20 $              51.00
                             Revise and finalize July monthly operating report (St. Christopher's
  9/21/2022     REW          Healthcare)                                                                       0.10 $              25.50
                             .pdf and electronic docketing of July monthly operating report (St.
  9/21/2022     REW          Christopher's Healthcare)                                                         0.20 $              51.00
                             Revise and finalize July monthly operating report (Philadelphia Academic
  9/21/2022     REW          Medical Associates)                                                               0.10 $              25.50
                             .pdf and electronic docketing of July monthly operating report (Philadelphia
  9/21/2022     REW          Academic Medical Associates)                                                      0.20 $              51.00
  9/21/2022     REW          Revise and finalize July monthly operating report (HPS of PA)                     0.10 $              25.50

  9/21/2022     REW          .pdf and electronic docketing of July monthly operating report (HPS of PA)        0.20 $              51.00



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    Date      Timekeeper                                    Description                                      Hours         Value
                             Revise and finalize July monthly operating report (SCHC Pediatric
  9/21/2022     REW          Associates)                                                                        0.10 $              25.50
                             .pdf and electronic docketing of July monthly operating report (SCHC
  9/21/2022     REW          Pediatric Associates)                                                              0.20 $              51.00
                             Revise and finalize July monthly operating report (St. Christopher's
  9/21/2022     REW          Pediatric Urgent Care Center)                                                      0.10 $              25.50
                             .pdf and electronic docketing of July monthly operating report (St.
  9/21/2022     REW          Christopher's Pediatric Urgent Care Center)                                        0.20 $              51.00
                             Revise and finalize July monthly operating report (SCHC Pediatric
  9/21/2022     REW          Anesthesia Associates)                                                             0.10 $              25.50
                             .pdf and electronic docketing of July monthly operating report (SCHC
  9/21/2022     REW          Pediatric Anesthesia Associates)                                                   0.20 $              51.00
                             Revise and finalize July monthly operating report (StChris Care at Northeast
  9/21/2022     REW          Pediatrics)                                                                        0.10 $              25.50
                             .pdf and electronic docketing of July monthly operating report (StChris Care
  9/21/2022     REW          at Northeast Pediatrics)                                                           0.20   $            51.00
  9/21/2022     REW          Revise and finalize July monthly operating report (TPS of PA)                      0.10   $            25.50
  9/21/2022     REW          .pdf and electronic docketing of July monthly operating report (TPS of PA)         0.20   $            51.00
  9/21/2022     REW          Revise and finalize July monthly operating report (TPS II of PA)                   0.10   $            25.50
                             .pdf and electronic docketing of July monthly operating report (TPS II of
  9/21/2022     REW          PA)                                                                                0.20 $              51.00
  9/21/2022     REW          Revise and finalize July monthly operating report (TPS III of PA)                  0.10 $              25.50
                             .pdf and electronic docketing of July monthly operating report (TPS III of
  9/21/2022     REW          PA)                                                                                0.20 $              51.00
  9/21/2022     REW          Revise and finalize July monthly operating report (TPS IV of PA)                   0.10 $              25.50
                             .pdf and electronic docketing of July monthly operating report (TPS IV of
  9/21/2022     REW          PA)                                                                                0.20 $              51.00
  9/21/2022     REW          Revise and finalize July monthly operating report (TPS V of PA)                    0.10 $              25.50
                             .pdf and electronic docketing of July monthly operating report (TPS V of
  9/21/2022     REW          PA)                                                                                0.20   $            51.00
  9/22/2022     REW          Review of docket for status of all adversary actions                               0.90   $           229.50
  9/23/2022     REW          Draft fourth status report for all adversary proceedings                           1.80   $           459.00
  9/27/2022     REW          Review and finalize fourth interim status report                                   0.30   $            76.50
                             .pdf and electronic docketing of fourth interim status report (filed in main
  9/27/2022     REW          and all adversary cases)                                                           1.20 $             306.00
  9/29/2022     REW          Draft certification of no objection for tenth removal motion                       0.20 $              51.00
                             .pdf and electronic docketing of certification of no objection for tenth
  9/29/2022     REW          removal motion                                                                     0.20 $              51.00
  9/29/2022     REW          Prepare final order for tenth removal motion and upload to the Court               0.10 $              25.50
  9/30/2022     REW          Review of and revise certification of no objection for August staffing report      0.10 $              25.50
                             .pdf and electronic docketing of certification of no objection for August
  9/30/2022     REW          staffing report                                                                     0.20 $          51.00
              REW Total                                                                                         42.00 $      10,710.00




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    Date       Timekeeper                                   Description                                     Hours          Value
                              Meeting with A. Isenberg re research memo re case admin issue assignment
  9/21/2022       SE          on Trustee fees.                                                                  0.20   $         57.00
  9/21/2022       SE          Begin memo outline for re case admin issue research.                              0.50   $        142.50
  9/22/2022       SE          Westlaw research re case admin issue.                                             3.50   $        997.50
  9/23/2022       SE          Read and review Siegel v. Fitzgerald + begin drafting case summary.               2.00   $        570.00
  9/26/2022       SE          Review case docket for updates and case calendar.                                 0.30   $         85.50
  9/27/2022       SE          Monitor and review case docket for updates and case calendar.                     0.30   $         85.50
  9/28/2022       SE          Monitor and review case docket for updates and case calendar.                     0.30   $         85.50
  9/28/2022       SE          Draft rough draft of case admin issue research memo.                              4.00   $      1,140.00
  9/29/2022       SE          Monitor and review case docket for updates and case calendar.                     0.30   $         85.50
  9/29/2022       SE          Draft CNO for Eisner August staff report.                                         1.00   $        285.00
  9/29/2022       SE          Revise and edit case admin issue memo.                                            2.00   $        570.00
  9/30/2022       SE          E-mail M. DiSabatino draft Eisner August staff report CNO.                        0.10   $         28.50
  9/30/2022       SE          E-mail R. Warren draft Eisner August staff report CNO for filing.                 0.10   $         28.50
  9/30/2022       SE          Monitor and review case docket for updates and case calendar.                     0.30   $         85.50
                              Create and update case calendar for new removal deadline + send to attorney
  9/30/2022       SE          group.                                                                            0.20  $           57.00
  9/30/2022       SE          Revise and finalize case admin issue                                              3.50  $          997.50
                SE Total                                                                                       18.60  $        5,301.00
                TOTAL                                                                                         487.10  $      307,887.50
                              Minus 50% Discount for Non-Working Travel                                              $       (5,653.25)
                              Minus Agreed Upon Discount                                                             $      (29,658.10)
              GRAND TOTAL                                                                                     487.10 $       272,576.15




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